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Motion for Sanctions

OHANA GROWTH PARTNERS, __| IN THE
LLC CIRCUIT COURT
Plaintiff, FOR
VS. BALTIMORE COUNTY
RYAN DILLON-CAPPS CASE NO: C-03-CV-24-002264
Defendant.
MOTION FOR SANCTIONS

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Dismissal of Claims with Prejudice
Referral for Ethical Review
Referral for Criminal Review:
Disqualification of Counsel:
Conclusion Summary

Motion for Sanctions

I INTRODUCTION

1 The Defendant, Ryan Dillon-Capps, appearing Pro Se, respectfully moves this

Honorable Court to impose sanctions against the Plaintiff, Ohana Growth Partners, and their

counsel, Miles & Stockbridge, pursuant to Maryland Rule 1-341. The Defendant asserts that

the Plaintiff's actions throughout these proceedings have been undertaken in bad faith, without

substantial justification, and represent a clear abuse of the judicial process.

= The lawsuit is fraudulent in nature, lacking any legitimate legal or factual basis, as the

Plaintiff has failed to demonstrate any specific harm that would warrant the initiation of this

litigation. Furthermore, the Plaintiff and their counsel have repeatedly engaged in deceptive

practices, including the submission of fraudulent evidence and the misrepresentation of critical

facts, knowingly misleading this Court to secure improper legal relief. Their actions have caused

unnecessary harm and hardship to the Defendant, both financially and emotionally.

3 In light of these ongoing abuses, and to preserve the integrity of these proceedings, the

Defendant respectfully requests that this Court impose appropriate sanctions to address the

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misconduct of the Plaintiff and their counsel. In support of this motion, the Defendant sets forth

the following arguments and factual basis:

Il PRIMA FACIA ELEMENTS
A Bad Faith

4 Bad faith occurs when a party knowingly engages in dishonest or unfair practices during
litigation, acting with ill intent to harass, delay, or otherwise disrupt the judicial process. Bad
faith is not simply a matter of negligence or poor judgment; it involves intentional misconduct,
such as pursuing baseless claims with the knowledge that they lack merit. In Christian v.
Mattel, Inc., 286 F.3d 1118 (9th Cir. 2002), the court emphasized that bad faith may be found
when a party files meritless claims for improper purposes, such as harassment, to impose
unnecessary burdens on the opposing party, or to delay resolution of the matter.
5 In this case, the Plaintiff's actions demonstrate clear bad faith. They have pursued a
fraudulent lawsuit based on fabricated evidence and unfounded claims, intending to mislead the
Court and harass the Defendant. Their improper purpose, aimed at pressuring the Defendant
through baseless litigation, meets the standard for bad faith conduct and justifies the imposition

of sanctions under Maryland Rule 1-341.

B Lack of Substantial Justification

6 A claim lacks substantial justification when there is no credible evidence or legal basis
supporting it. The Maryland Court of Appeals in Inlet Associates v. Harrison Inn Inlet, Inc.,

324 Md. 254 (1991), held that claims lacking substantial justification are those that a reasonable

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attorney would not pursue under existing law. When an action is frivolous, meritless, or based on
misrepresentations, it cannot be considered substantially justified.

7 In this case, the Plaintiff's lawsuit lacks any credible factual or legal foundation. The
claims made against the Defendant are unsupported by evidence, as the Plaintiff has failed to
demonstrate specific harm or a legitimate cause of action. Instead, the Plaintiff has relied on
fabricated and misleading information, which no reasonable attorney would have pursued. This
absence of legal justification further supports the Defendant’s motion for sanctions, as the

lawsuit is frivolous and has no basis in fact or law.

C Causation of Unnecessary Delay or Expense

8 For sanctions to be imposed, the Defendant must also demonstrate that the Plaintiff's
actions caused unnecessary delay or expense. This element requires showing that the opposing
party's conduct has resulted in avoidable delays or costs, often by misusing procedural devices or
prolonging the litigation without justification. In Blake v. Blake, 341 Md. 326 (1996), the court
recognized that parties who unnecessarily prolong litigation or engage in tactics that cause undue
costs to the opposing party can be subject to sanctions.

9 The Plaintiff's continued pursuit of meritless claims and the filing of fraudulent evidence
has significantly delayed the resolution of this case and imposed unnecessary costs on the
Defendant. Rather than engaging in meaningful negotiations or presenting legitimate evidence,
the Plaintiff has exploited procedural mechanisms to prolong the litigation and increase the
Defendant’s legal and financial burdens. These actions meet the standard for causing

unnecessary delay and expense, further supporting the imposition of sanctions.

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D Conclusion: Prima Facie Case for Sanctions

10 To warrant sanctions under Maryland Rule 1-341, the Defendant has established the
prima facie elements of bad faith, lack of substantial justification, and the causation of
unnecessary delay or expense. The Plaintiff's actions throughout this litigation—pursuing a
fraudulent claim, submitting falsified evidence, and causing unnecessary hardship to the
Defendant—demonstrate a clear abuse of the judicial process. Accordingly, sanctions are
warranted to address these improper actions, deter further misconduct, and compensate the

Defendant for the undue costs and delays caused by the Plaintiff's bad faith litigation.

Mm SANCTIONABLE CONDUCT
A Abuse of Process

11 The Plaintiff, Ohana Growth Partners, and their counsel, Miles & Stockbridge, have
misused the judicial system by filing and continuing to pursue a baseless and fraudulent lawsuit
against the Defendant. This conduct constitutes Abuse of Process, as they are not seeking to
resolve a legitimate legal dispute but rather to use legal processes to harass, pressure, and
intimidate the Defendant. The legal system has been weaponized for improper purposes, which

violates the principles of fairness and justice under Maryland law.
I.  ABUSE.OF PROCESS DEFINED

12 Under Maryland law, Abuse of Process occurs when a party uses the legal system for an

improper purpose, one that is not the regular aim of legal proceedings. The key elements of an

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abuse of process claim are (1) the existence of an ulterior motive and (2) an improper act in the
use of the legal process that is not proper in the regular conduct of proceedings.

13 The Court of Appeals of Maryland has clearly defined abuse of process in One
Thousand Fleet Ltd. Partnership v. Guerriero, 346 Md. 29 (1997), stating that abuse of
process arises when a party uses the judicial system to accomplish something outside the scope
of the legitimate litigation process. The improper use of legal procedures to coerce, harass, or
intimidate another party—rather than to obtain a lawful remedy—meets this standard. Here, the
Plaintiff's lawsuit was filed not to resolve a genuine legal claim but to harass and coerce the

Defendant, a clear instance of abusing the judicial process.

FILING.A.FRAURULENT. LAWSUILTO.HARASS.ANP. INTIMIDATE,

14 The Plaintiff and their counsel, Miles & Stockbridge, initiated this litigation based on
fraudulent claims and have continued to pursue the lawsuit despite its baseless nature. The
allegations made against the Defendant are not supported by facts or law, indicating that the
Plaintiff's true motive is not to seek a fair legal resolution but to harass and pressure the
Defendant into submission.

15 Filing a lawsuit based on knowingly false allegations constitutes abuse of process. In
Keys v. Chrysler Credit Corp., 303 Md. 397 (1985), the Court of Appeals of Maryland noted
that abuse of process involves not just the initiation of a legal action but the ongoing pursuit of
litigation for improper purposes. In this case, the Plaintiff is using the lawsuit to tarnish the

Defendant’s reputation, cause emotional distress, and gain leverage, rather than to address any

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legitimate legal claims. This behavior goes beyond the bounds of normal litigation and is aimed

at intimidating the Defendant.

TI. CONTINUING TO PURSUE. THE.LAWSUIT. WITHOUT JUSTIFICATION

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16 Abuse of process is further evident from the Plaintiff's continued pursuit of the lawsuit
despite knowing that the claims lack merit. The ongoing litigation serves no legitimate purpose
other than to impose financial and emotional burdens on the Defendant. Maryland courts have
long recognized that continuing a legal action after it becomes clear that the claims are baseless
can constitute abuse of process. In Walker v. American Security & Trust Co., 237 Md. 80
(1964), the court held that persistence in pursuing meritless legal claims is a strong indicator of
an improper motive, particularly when the intent is to coerce or intimidate the opposing party.
17 The Plaintiffs decision to continue this litigation, despite clear evidence that the claims
are unfounded, reflects an intent to misuse the judicial process to harm the Defendant. This

ongoing abuse of process is not only improper but sanctionable under Maryland law.

IV. LEGAL REMEDIES AND SANCTIONS FOR.ABUSE OF PROCESS

18 Courts have broad discretion to impose sanctions or dismiss claims when abuse of
process is evident. Maryland courts, under both Rule 1-341 and their inherent authority, can
sanction parties for misusing the judicial process for purposes other than obtaining a legitimate
legal remedy. In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the Supreme Court
emphasized that courts must retain the ability to impose sanctions to prevent parties from

engaging in bad-faith conduct that abuses the legal system.

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19 In this case, the Plaintiff and Miles & Stockbridge’s conduct meets the standard for abuse
of process because their actions serve no legitimate legal goal. Their continued pursuit of a
baseless lawsuit is aimed at harassing and coercing the Defendant, causing undue emotional and
financial harm. Sanctions, including dismissal of the lawsuit and the imposition of monetary

penalties, are appropriate to remedy this improper use of the judicial process.

CONCLVSION: ABUSE.OE PROCESS THRQUGH FRAVRULENT.LATIGATION

20 The Plaintiff and Miles & Stockbridge have engaged in Abuse of Process by filing a
fraudulent lawsuit and continuing to pursue it for improper purposes. Their actions are not aimed
at achieving a legitimate legal resolution but rather at harassing, intimidating, and pressuring the
Defendant. Maryland law does not tolerate the misuse of legal proceedings in this manner, and
sanctions are warranted to address this abuse of the judicial system. The court should consider
dismissing the baseless claims and imposing appropriate penalties to prevent further misuse of

legal processes.

Legal Basis:

21 The conduct of Plaintiff, Ohana Growth Partners, and their counsel, Miles & Stockbridge,
in filing and continuing to pursue a fraudulent lawsuit constitutes Abuse of Process, warranting
sanctions under Maryland law. The principles set forth in One Thousand Fleet Ltd.
Partnership v. Guerriero, 346 Md. 29 (1997), and Palmer Ford, Inc. v. Wood, 298 Md. 484
(1984), provide a clear legal framework for imposing sanctions when legal procedures are used

improperly for ulterior purposes.

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I. LEGAL.PROCESS.SHOULD. NOT. BE, USED.FOR.AN, IMPROPER PURPOSE

22 In One Thousand Fleet Ltd. Partnership v. Guerriero, the Maryland Court of Appeals
established that the legal process should not be used for purposes outside the legitimate aim of
litigation. Abuse of process occurs when the judicial system is exploited to achieve something
unrelated to the proper use of the law, such as harassment, coercion, or personal gain, rather than
to resolve a genuine legal dispute.

23 The Plaintiff and Miles & Stockbridge’s initiation of a baseless lawsuit and their
continued pursuit of it demonstrates an improper use of legal procedures. Their intent was not to
seek a legitimate legal remedy but to coerce and harass the Defendant by creating legal and
emotional burdens. As outlined in One Thousand Fleet, this type of misuse of the legal system

is impermissible and serves as a basis for sanctions.

Il. MISUSE OF LEGAL PROCEDURES CONSTITUTES ABUSE. OF, PROCESS

24 In Palmer Ford, Inc. v. Wood, the Maryland Court of Appeals clarified that abuse of
process occurs not only when legal procedures are improperly issued but also when they are
misused after they have been lawfully initiated. In this case, the Plaintiff and Miles &
Stockbridge’s conduct constitutes a continuation of the abuse after filing the lawsuit, as they
persisted in pursuing claims despite knowing that the lawsuit was fraudulent and lacking in legal
merit.

25 Palmer Ford makes it clear that once the legal process is set in motion, its continued use
for improper purposes—such as harassing, coercing, or intimidating the opposing party—
constitutes abuse of process and is sanctionable. Here, the Plaintiff's continued litigation serves

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no legitimate purpose but to damage the Defendant emotionally, financially, and reputationally.

This ongoing misuse of the court’s procedures demands remedial action in the form of sanctions.

IU. SANCTIONS FOR BAD FAITH. AND ABUSE OF PROCESS

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26 Both One Thousand Fleet and Palmer Ford illustrate that the courts have the authority
to impose sanctions when legal procedures are used improperly or in bad faith. Maryland Rule 1-
341 allows courts to impose sanctions, including attorney’s fees and costs, against parties who
engage in bad faith litigation or who misuse legal processes. Furthermore, courts have inherent
power to penalize parties who abuse the judicial system by filing or pursuing baseless claims, as
recognized by the U.S. Supreme Court in Chambers v. NASCO, Inc., 501 U.S. 32 (1991).

27 In this case, the Plaintiff and Miles & Stockbridge’s conduct—filing and continuing to
pursue a lawsuit with no legal basis—qualifies as bad faith litigation. Their intent was not to
obtain a legitimate legal remedy, but rather to harass, intimidate, and pressure the Defendant into
submission. Such misuse of the legal process is precisely the type of behavior that sanctions are
designed to address. The court should exercise its authority to impose penalties, including the
dismissal of the fraudulent claims and the awarding of costs to the Defendant for the harm

caused by this abuse of process.

IV. JUSTIFICATION FOR SANCTIONS IN ‘THIS.CASE

28 The Plaintiff's continued litigation, despite the lack of factual or legal support for their
claims, highlights their intention to misuse the legal process. Under Palmer Ford, the

continuation of this baseless lawsuit after it became clear that the claims lacked merit constitutes

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an ongoing abuse of process. This pattern of behavior has caused significant harm to the
Defendant, including financial strain, emotional distress, and reputational damage.

29 Sanctions are necessary to deter this type of bad faith litigation and to compensate the
Defendant for the damages incurred as a result of this abuse of process. The court should also
consider awarding attorney’s fees and costs under Maryland Rule 1-341, as the Plaintiff's

actions have unnecessarily prolonged litigation and caused substantial harm to the Defendant.

CONCLUSION: SANCTIONS. FOR ABUSE QE. PROCESS ARE. JUSTIRIER,

30 Based on One Thousand Fleet Ltd. Partnership v. Guerriero and Palmer Ford, Inc.
v. Wood, the Plaintiff and Miles & Stockbridge’s actions in filing and continuing to pursue a
fraudulent lawsuit constitute Abuse of Process. Their misuse of the legal system for improper
purposes—such as harassment, intimidation, and coercion—violates the principles of fair
litigation and is sanctionable under Maryland law. The court should impose appropriate
sanctions, including the dismissal of claims and the awarding of attorney’s fees and costs, to

address this bad faith litigation and prevent further misuse of the judicial process.

B Attempted False Imprisonment (Common Law)
31 The Plaintiff, Ohana Growth Partners, and their counsel, Miles & Stockbridge, pursued a
show cause order with the intent of seeking the Defendant’s incarceration, an action aimed at
unlawfully restricting the Defendant’s liberty. By initiating these legal proceedings, the Plaintiff
and their counsel engaged in conduct that could be construed as an attempt at false

imprisonment under Maryland common law. The use of a show cause order with the potential

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for incarceration, without legitimate legal grounds, constitutes an abuse of the legal process and

raises serious concerns about unlawful restraint on the Defendant’s freedom.

I. ELEMENTS. OF. FALSE, IMPRISONMENT. UNDER MARYLAND. LAW

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32 Under Maryland common law, false imprisonment is defined as the intentional
restriction of a person’s freedom of movement without legal justification. To prove false
imprisonment, a plaintiff must establish that: (1) the defendant deprived them of their liberty, (2)
the deprivation was without consent, and (3) there was no legal justification for the confinement.
While this case involves an attempted false imprisonment, the underlying legal principles remain
the same, as the Plaintiffs actions sought to unlawfully confine the Defendant through the
misuse of a show cause order.

33 In Montgomery Ward v. Wilson, 339 Md. 701 (1995), the Court of Appeals of
Maryland emphasized that false imprisonment can occur through legal proceedings when those
proceedings are initiated without proper cause or justification. By filing the show cause order
with the intent of securing the Defendant’s incarceration, the Plaintiff and Miles & Stockbridge
knowingly pursued legal action that could restrict the Defendant’s freedom without sufficient

legal grounds.

Il. ABUSE.OF LEGAL PROCESS AND. DEPRIVATION OF LIBERTY.

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34 The Plaintiff and Miles & Stockbridge’s filing of a show cause order seeking potential
incarceration demonstrates an abuse of the legal process, as their primary aim was not to pursue

legitimate legal remedies but to intimidate and unlawfully restrict the Defendant’s liberty. The

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use of such legal mechanisms without proper cause is a significant overreach and could be seen
as an attempt at false imprisonment, particularly when the action is intended to coerce or punish
the Defendant rather than resolve the underlying legal dispute.

35 In Henneberry v. Pharoan, 232 Md. 346 (1963), the Maryland Court of Appeals held
that a legal proceeding intended to detain or confine an individual without legal justification can
give rise to a claim of false imprisonment. Here, the Plaintiff's efforts to seek the Defendant’s
incarceration through a show cause order, absent a valid basis for such extreme measures,

amounts to an abuse of legal authority designed to curtail the Defendant’s liberty.

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36 For a show cause order with potential incarceration to be valid, it must be supported by a
legitimate legal basis, typically involving contempt of court or other serious violations. In this
case, the Plaintiff and Miles & Stockbridge pursued incarceration as a punitive measure, not as a
result of any contempt or actionable misconduct by the Defendant. The lack of any substantive
legal justification for seeking the Defendant’s imprisonment highlights the illegitimacy of the
Plaintiff's actions.

37 The Maryland courts have long held that the deprivation of liberty through legal
mechanisms, such as a show cause order, must be grounded in law. Without a valid reason for
the incarceration request, the Plaintiff's actions represent an unlawful attempt to confine the
Defendant. As noted in Kougl v. Xspedius Mgmt. Co. of Rockville, LLC, 405 Md. 42 (2008),
legal actions that lead to the wrongful deprivation of liberty, particularly those undertaken with

malice or without justification, may be deemed false imprisonment.

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38 The pursuit of incarceration through the show cause order was not only an abuse of legal
process but also a coercive tactic aimed at intimidating the Defendant. By threatening the loss of
personal liberty, the Plaintiff sought to place undue pressure on the Defendant, using the threat of
imprisonment to gain leverage in the litigation. Such actions, when taken without sufficient legal
grounds, are an improper and unlawful use of the judicial system.

39 This kind of coercive conduct has been recognized as abusive in Maryland. In Walker v.
American Security & Trust Co., 237 Md. 80 (1964), the court held that attempts to use legal
threats to compel or intimidate a party, particularly when involving personal liberty, are subject
to scrutiny and potential liability for false imprisonment or abuse of process. The Plaintiff's
actions here fit within that framework, as the threat of incarceration was designed to unlawfully

influence the Defendant’s behavior.

Legal Basis:

40 The actions of the Plaintiff, Ohana Growth Partners, and their counsel, Miles &
Stockbridge, in pursuing a show cause order with the aim of incarcerating the Defendant,
represent an attempt at false imprisonment under Maryland law. This conduct, without legal
justification, amounts to an abuse of the judicial process that is sanctionable under both
Maryland common law and statutory provisions. Heron v. Strader, DeWolfe v. Richmond, and
Maryland Criminal Law Code § 1-202 provide clear legal standards for holding the Plaintiff

and their counsel accountable for attempting to unlawfully restrict the Defendant’s liberty.

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I.

II.

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FALSE. IMPRISONMENT. AND. UNLAWEUL. RESTRAINT

4] In Heron v. Strader, 361 Md. 258, 264 (2000), the Maryland Court of Appeals
established that false imprisonment occurs when a person’s liberty is unlawfully restrained
without justification. The Plaintiff's pursuit of a show cause order, seeking the Defendant's
incarceration without proper legal grounds, falls squarely within the definition of false
imprisonment. By attempting to have the Defendant incarcerated without any legitimate basis,
the Plaintiff and Miles & Stockbridge engaged in conduct aimed at unlawfully restraining the
Defendant’s freedom.

42 False imprisonment claims, even those based on attempted restraint, are subject to
sanctions when undertaken in bad faith or without justification. Heron emphasizes that the mere
act of unlawfully seeking to restrict someone’s liberty, through legal channels or otherwise,
constitutes a violation of the right to freedom. Here, the Plaintiff's actions were not grounded in

law and had no legitimate legal purpose, making them sanctionable under Maryland law.

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43 In DeWolfe v. Richmond, 434 Md. 444 (2013), the Maryland Court of Appeals
reinforced the principle that even temporary or brief unlawful restrictions on liberty can give
rise to a false imprisonment claim. In this case, the Plaintiff and their counsel took substantial
steps toward unlawfully restricting the Defendant’s liberty by filing a show cause order with the
potential for incarceration. While the Defendant may not have been physically confined, the
attempt to secure his incarceration through the misuse of legal processes qualifies as a substantial
step toward false imprisonment.

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a4 Sanctions are appropriate in such cases where a party’s actions, even if unsuccessful in
achieving confinement, were aimed at unlawfully restricting the defendant’s freedom. The
Plaintiff and Miles & Stockbridge’s pursuit of incarceration was not grounded in valid legal
arguments but was instead a coercive tactic aimed at intimidating and applying pressure on the
Defendant. Under DeWolfe, such actions are considered an abuse of the judicial process and

warrant sanctions, especially when the conduct is intended to harm or intimidate.

Il. ATTEMPT LIABILITY UNDER MARYLAND. LAW (MARYLAND. CRIMINAL. LAW CODE § 1-202)

45 Maryland law also recognizes that attempted false imprisonment is sanctionable under
Maryland Criminal Law Code § 1-202, which addresses attempt liability. This statute states
that an attempt occurs when a person takes substantial steps toward committing an offense, even
if the offense is not ultimately completed. The Plaintiff's efforts to file a show cause order with
the intent of having the Defendant incarcerated qualify as substantial steps toward false
imprisonment, particularly when done without legal justification.

46 Under this statute, the Plaintiff and Miles & Stockbridge's actions represent more than
just aggressive litigation—they constitute an abuse of the legal process aimed at unlawfully
restricting the Defendant’s liberty. Sanctions are appropriate when legal processes are misused to
take substantial steps toward committing a wrongful act, such as false imprisonment. By
pursuing incarceration without sufficient cause, the Plaintiff engaged in sanctionable conduct

that violates both Maryland law and the principles of fair legal proceedings.

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V.

Motion for Sanctions

47 Maryland courts have broad discretion to impose sanctions for the misuse of legal
processes, particularly when those processes are used to attempt wrongful conduct such as false
imprisonment. The Maryland Rules of Civil Procedure allow courts to impose sanctions on
parties who engage in bad faith litigation or who use the legal system for purposes other than
resolving legitimate disputes. In this case, the Plaintiff and Miles & Stockbridge’s filing of a
show cause order with the potential for incarceration was not a good-faith legal maneuver but
rather an attempt to intimidate and unlawfully restrict the Defendant’s liberty.

48 In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the Supreme Court affirmed that
courts have the inherent power to issue sanctions for bad faith conduct, including the use of legal
mechanisms like show cause orders to attempt to unlawfully restrict someone’s liberty. This
principle applies here, where the Plaintiff's actions represent an abuse of the legal process. The
Plaintiff and their counsel sought incarceration as a punitive measure without legal justification,

making their conduct sanctionable under both Maryland common law and statutory standards.

CONCLUSION. SANCTIONS. FOR ATTEMPTER. RALSE IMPRISONMENT.

49 The Plaintiff and Miles & Stockbridge’s conduct in pursuing a show cause order with the
potential for incarceration amounts to an attempt at false imprisonment, as defined by Heron
y. Strader and DeWolfe v. Richmond. Their actions were aimed at unlawfully restricting the
Defendant’s liberty without justification, a clear abuse of the legal process. Under Maryland
Criminal Law Code § 1-202, the substantial steps taken by the Plaintiff in seeking to confine

the Defendant without legal cause constitute a sanctionable offense.

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50 The court has both the authority and responsibility to impose sanctions on parties who
misuse legal processes for improper purposes, particularly when such actions threaten an
individual’s personal liberty. The Plaintiff's attempt to secure the Defendant's incarceration
through baseless legal filings was an act of bad faith intended to intimidate, coerce, and punish.
Sanctions are warranted to address this misconduct, prevent further abuse of the judicial process,

and uphold the principles of fairness and justice.

C Intentional Infliction of Emotional Distress (IED)

5] The Plaintiff, Ohana Growth Partners, and their counsel, Miles & Stockbridge, have
engaged in extreme and outrageous conduct, deliberately intended to inflict emotional harm on
the Defendant. Despite being aware of the harm their actions were causing, they continued their
efforts without hesitation, demonstrating a pattern of behavior designed to cause emotional
distress rather than to resolve legitimate legal disputes. This conduct constitutes Intentional

Infliction of Emotional Distress (IED) under Maryland law.

52 In Maryland, a claim for IED requires that the defendant's conduct be so extreme and
outrageous that it exceeds all bounds of decency and is considered intolerable in a civilized
society. The actions of the Plaintiff and Miles & Stockbridge go beyond the realm of normal
legal advocacy and into the territory of deliberate harm. Their repeated litigation tactics—despite
knowing the emotional and mental toll on the Defendant—demonstrate a pattern of harassment

and infliction of distress, not merely zealous representation.

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53 The Court of Appeals of Maryland has recognized in Harris v. Jones, 281 Md. 560
(1977), that for IIED claims to be successful, the conduct must be extreme, outrageous, and
intentionally aimed at causing severe emotional distress. The Court further emphasized that there
must be a deliberate disregard for the emotional well-being of the victim. Here, the Plaintiff and
their counsel have engaged in a relentless legal assault, despite being aware of the Defendant’s
vulnerability and the emotional impact their actions were having. This behavior rises to the level

of extreme and outrageous conduct as defined under Maryland law.

Il. JNTENT.TO.CAUSE EMOTIONAL DISTRESS

54 For a valid claim of IIED, the defendant’s conduct must be intentional or reckless,
meaning that the defendant either intended to cause emotional distress or acted with reckless
disregard for the likelihood of causing such distress. In this case, the Plaintiff and Miles &
Stockbridge have shown a reckless and, arguably, deliberate disregard for the emotional impact
their actions have had on the Defendant.

55 By continuing their litigation tactics, even after being made aware of the harm they were
causing, the Plaintiff and their counsel demonstrated intent or, at the very least, reckless
indifference to the Defendant’s emotional suffering. This conduct is designed not to resolve any
legitimate legal dispute but to intimidate, harass, and emotionally damage the Defendant, a key

element in proving intentional infliction of emotional distress.

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III. CAUSAL CONNECTION TO. EMOTIONAL DISTRESS

56 Maryland law also requires a clear causal connection between the defendant’s extreme
and outrageous conduct and the emotional distress suffered by the plaintiff. The pattern of
actions by the Plaintiff and Miles & Stockbridge, including filing unfounded legal claims,
making defamatory statements, and refusing to accommodate the Defendant’s disability, has
caused significant emotional and psychological harm. The continuation of these actions, despite
being aware of the Defendant's distress, exacerbates the harm and directly connects their conduct
to the emotional suffering experienced by the Defendant.

57 As established in Figueiredo-Torres v. Nickel, 321 Md. 642 (1991), Maryland courts
require proof that the defendant’s conduct was the direct cause of the emotional distress. In this
case, the Defendant’s emotional suffering is not speculative but a direct result of the aggressive
and hostile litigation strategy employed by the Plaintiff and their counsel. The refusal to relent,
even when it was clear that their actions were causing harm, shows a calculated intent to inflict

emotional pain.

IV. SEVERE EMOTIONAL DISTRESS

58 To succeed in an ITED claim in Maryland, the emotional distress suffered must be
severe—meaning that it is more than minor or transient; it must be so intense that no reasonable
person could be expected to endure it. The relentless litigation tactics employed by the Plaintiff
and Miles & Stockbridge have subjected the Defendant to severe emotional trauma, including

anxiety, distress, and a sense of helplessness.

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59 In Moniodis vy. Cook, 64 Md. App. 1 (1985), the court explained that the severity of the
emotional distress must be such that it seriously impacts the plaintiffs ability to function in daily
life. Here, the Defendant’s emotional distress is severe and ongoing, resulting from the Plaintiff's
continued harassment and refusal to resolve the matter in a reasonable or fair manner. The
Plaintiff's and Miles & Stockbridge’s conduct has led to extreme psychological suffering for the
Defendant, meeting the high threshold of severity required for an IED claim under Maryland

law.

CONCLUSION: INTENTIONAL. INELICTION OF EMOTIONAL. DISTRESS

60 The Plaintiff and Miles & Stockbridge’s conduct constitutes intentional infliction of
emotional distress. Their extreme and outrageous actions, carried out with the intent or reckless
disregard for the harm caused to the Defendant, have resulted in severe emotional distress. The
continued litigation and refusal to accommodate the Defendant’s legitimate concerns, even after
knowing the harm they were causing, make it clear that the goal was to intimidate and
emotionally damage the Defendant. Under Maryland law, this conduct is actionable, and the
Defendant has a valid claim for damages resulting from this intentional infliction of emotional

distress.

Legal Basis:

61 The extreme and outrageous conduct by the Plaintiff, Ohana Growth Partners, and their
counsel, Miles & Stockbridge, amounts to Intentional Infliction of Emotional Distress (IIED)
under Maryland law, as established in Harris v. Jones, 281 Md. 560 (1977). In cases where

actions have no legitimate legal purpose and are instead aimed at causing emotional harm,

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sanctions are appropriate. The Defendant has suffered severe emotional distress as a direct result

of the Plaintiff's conduct, making sanctions justified to address this misuse of the legal system.

I. EXTREMEAND OUTRAGEOUS. CONPUCT. WITH.NO. LEGITIMATE, LEGAL. PURPOSE

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62 Under Harris v. Jones, IED requires conduct that is "so extreme in degree, as to go
beyond all possible bounds of decency" and is "regarded as atrocious, and utterly intolerable in a
civilized community." The behavior of the Plaintiff and Miles & Stockbridge meets this
standard, as their litigation tactics have been employed with the intention of causing emotional
harm rather than resolving a legal dispute.

63 In particular, the repeated use of litigation to harass and emotionally damage the
Defendant, despite being aware of the harm caused, is conduct that has no legitimate legal
purpose. Maryland courts recognize that bad faith or malicious actions in the context of litigation
may warrant sanctions, especially when those actions inflict emotional distress without
advancing any valid legal claim. In Harris, the court emphasized that sanctions are appropriate
when conduct is extreme, outrageous, and aimed at causing emotional harm. Here, the relentless

litigation tactics employed by the Plaintiff fall within this definition.

Tl. MALICIOUS INTENT.AND. RECKLESS. DISREGARD. FOR, EMOTIONAL. DISTRESS,

64 In cases involving I[ED, malicious intent or reckless disregard for the emotional harm

caused is a key element. The Plaintiff and Miles & Stockbridge demonstrated reckless

indifference to the emotional toll their actions were having on the Defendant. Even after

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becoming aware of the emotional distress their conduct was causing, they continued their
ageressive litigation strategy without pause.

65 In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the Supreme Court affirmed that
courts have the inherent power to sanction parties who act in bad faith, including those who
engage in conduct intended to harass, intimidate, or cause emotional harm. The Plaintiff's pattern
of behavior demonstrates that the litigation was used as a weapon of harassment, with the clear
intention of inflicting emotional harm on the Defendant, rather than pursuing a legitimate legal
resolution.

66 By continuing their tactics, even after being informed of the emotional harm suffered by
the Defendant, the Plaintiff acted with a reckless disregard for the Defendant’s well-being,
creating further grounds for sanctions. The intent to cause emotional harm, combined with the
absence of a legitimate legal basis, qualifies their conduct as sanctionable under Maryland law

and federal procedural rules.

Ill. JIEDAS.GROUNDS FOR SANCTIONS IN MARYLAND

67 In Harris v. Jones, the Court of Appeals of Maryland recognized that ITED occurs when
extreme and outrageous conduct results in severe emotional distress, and sanctions are
appropriate when such conduct is intended to harm rather than serve a legitimate purpose.
Maryland courts have broad discretion to sanction parties who misuse the legal process,
particularly when their actions are driven by malicious intent or are aimed at causing emotional

damage.

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68 Under Maryland Rule 1-341, the court may impose sanctions on parties or their
attorneys for conduct that is in bad faith or without substantial justification. In this case, the
Plaintiff and Miles & Stockbridge’s conduct qualifies as bad faith litigation aimed at inflicting
emotional distress on the Defendant, rather than resolving any legal issue. The emotional distress
caused by their actions, combined with their refusal to moderate their behavior, satisfies the
requirements for sanctions under Maryland law.

69 Additionally, the court's inherent authority to impose sanctions for misconduct applies
when the actions of one party are meant to oppress or harm another party through abuse of the
judicial process. By using litigation as a tool to emotionally damage the Defendant, the Plaintiff

and their counsel have engaged in an abuse of process, warranting punitive action from the court.

70 The Plaintiff and Miles & Stockbridge’s conduct has resulted in severe emotional distress
to the Defendant, a critical element of IIED as defined in Harris v. Jones. The Defendant’s
emotional suffering, including anxiety, stress, and a diminished ability to function, is a direct
consequence of the Plaintiff's malicious litigation tactics. This type of distress, recognized by
Maryland courts as a basis for IIED, meets the threshold for imposing sanctions, as the harm was
both foreseeable and avoidable had the Plaintiff engaged in legitimate legal conduct.

71 Sanctions serve to address and deter such extreme and malicious conduct. The imposition
of sanctions is not only necessary to compensate for the harm done but also to prevent the

continued abuse of the legal system for the purposes of harassment. Given the severity of the

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emotional distress caused by the Plaintiff's actions, sanctions are justified to remedy this harm

and prevent further misconduct.

CONCLUSION: SANCTIONS. WARRANTER.FOR INTENTIONAL ENEMICTION OF EMOTIONAL

DISTRESS

%2 The Plaintiff and Miles & Stockbridge’s actions constitute Intentional Infliction of
Emotional Distress, as defined in Harris v. Jones. Their conduct was extreme, outrageous, and
intended to cause the Defendant emotional harm. The lack of any legitimate legal purpose behind
their litigation strategy, combined with their continued actions despite knowing the emotional
toll on the Defendant, makes their conduct sanctionable. Sanctions are necessary to address this
abuse of the legal process, compensate the Defendant for the severe emotional distress caused,

and deter future misconduct.

D Defamation Through Misuse of Legal Process

73 The Plaintiff, Ohana Growth Partners, and their counsel, Miles & Stockbridge, have
weaponized this lawsuit to publicly discredit the Defendant through false and unfounded
allegations. These allegations, which are baseless and aimed at damaging the Defendant’s
reputation, constitute defamation and are intended to evade accountability for the Plaintiff's own
actions.

74 Defamation, under Maryland law, requires the plaintiff to establish: (1) a defamatory
statement, (2) falsity of the statement, (3) publication to a third party, (4) fault on the part of the
defendant, and (5) harm to the subject's reputation. Here, the Plaintiff and Miles & Stockbridge
have made false statements about the Defendant’s character and conduct through the public

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filing of this lawsuit, which was accessible to third parties, including the public, business

contacts, and other professionals in the Defendant's network.

75 The allegations made by the Plaintiff in the complaint are not only untrue but are crafted
in a manner intended to harm the Defendant’s personal and professional reputation. The Plaintiff
has falsely portrayed the Defendant as engaging in conduct that warrants legal action, when in
fact these allegations are being used to divert attention from the Plaintiff's own wrongdoing.
These statements, presented as part of legal filings, were knowingly false and made with the
intent to cause reputational harm.

76 In Shapiro v. Massengill, 105 Md. App. 743 (1995), the Maryland Court of Special
Appeals affirmed that a defamatory statement is one that tends to expose a person to public
scorn, hatred, contempt, or ridicule, or that discourages others from associating with them. By
making unfounded allegations in a public forum, the Plaintiff and Miles & Stockbridge have met
the threshold for defamation, as these statements are likely to lead to significant reputational

damage for the Defendant in his professional and personal circles.
PUBLICATION. ANP. MISUSE OF LEGAL.PROCESS

77 The defamatory statements were made publicly through the filing of this lawsuit, thereby
satisfying the publication element required for a defamation claim. The court filings are part of
the public record and have been disseminated beyond the immediate parties involved in the

litigation. This public disclosure of false allegations was a strategic choice to ensure the

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Defendant’s reputation would be damaged in the broader community, effectively using the legal
process as a vehicle for defamation.

78 While the filing of a lawsuit generally enjoys a degree of privilege to protect parties from
defamation claims, Maryland law recognizes exceptions where lawsuits are used as a tool for
intentional harm. In Beardsley v. Tait, 69 Md. App. 52 (1986), the court acknowledged that
legal privilege does not extend to statements made with malice or in bad faith, particularly where
the legal process is being abused to harm another’s reputation.

79 Here, the Plaintiff's lawsuit serves no legitimate legal purpose but instead operates as a
form of defamation by implication—the false and inflammatory nature of the claims suggests
misconduct by the Defendant, damaging his standing within the community. This misuse of the
legal process to spread defamatory statements strips the Plaintiff of any privilege that might

otherwise apply in the context of litigation.

80 The defamatory statements made by the Plaintiff and Miles & Stockbridge have caused
actual harm to the Defendant’s reputation. As a result of the false allegations, the Defendant has
suffered professional and personal harm, including potential damage to his employment
prospects, professional relationships, and standing in the community. This harm is exacerbated
by the public nature of the legal filings, which are accessible to a broad audience and are likely
to be shared among colleagues, employers, and others who may be influenced by the Plaintiff's
false assertions.

81 In Seley-Radtke v. Hosmane, 450 Md. 468 (2016), the Maryland Court of Appeals held

that defamation claims can be based on statements made within the legal process if those

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statements are shown to be false, malicious, and intended to harm the subject’s reputation. The
Plaintiff's actions in this case align with this principle, as the allegations are designed to distract
from their own wrongdoing by shifting blame onto the Defendant through a campaign of
character assassination.

82 The motive behind these defamatory statements is clear: to evade accountability for the
Plaintiff's own misconduct by discrediting the Defendant and undermining his credibility. By
making the Defendant appear culpable, the Plaintiff seeks to obscure its own liability and avoid
facing the consequences of its actions. This tactic is not only legally improper but also morally

reprehensible, as it unfairly tarnishes the Defendant’s reputation for personal gain.

CONCIVSION: DEFAMATION. THROUGH LEGAL ABUSE

83 The Plaintiff and Miles & Stockbridge have engaged in defamation by making false and
malicious allegations against the Defendant through the public filing of this lawsuit. These
actions are designed to harm the Defendant’s reputation and evade accountability for their own
misconduct. By abusing the legal process to spread defamatory statements, the Plaintiff has
opened itself to liability for defamation, as Maryland law does not shield parties who misuse the
legal system with the intent to cause reputational harm. The Defendant reserves the right to
pursue appropriate remedies for this defamation, including damages for reputational harm caused

by the Plaintiff's false statements.

Legal Basis:
84 In Maryland, defamation becomes sanctionable when false statements are made with

malicious intent, particularly when such statements are designed to harm another’s reputation

through misuse of the legal process. In Shapiro v. Massengill, 105 Md. App. 743 (1995), the

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Maryland Court of Special Appeals held that defamation claims are actionable when the
statements in question are false, made with malice, and published in a manner that causes
reputational harm. If these defamatory statements are made within the context of legal
proceedings, and with malicious intent, they may also be subject to court sanctions, especially if

the legal process is abused to propagate those statements.

I. MaAtLicious INTENT.AND FALSITY

85 To warrant sanctions, defamatory statements must be proven to be both false and made
with malicious intent. In Shapiro, the court established that malice can be inferred when false
statements are made with reckless disregard for the truth or with the specific intention to cause
harm to the individual’s reputation. Here, the Plaintiff and Miles & Stockbridge made allegations
against the Defendant that are not only false but were also crafted in bad faith with the intent to
harm the Defendant’s personal and professional standing.

86 The malicious nature of the allegations is evident from the fact that the Plaintiff sought to
publicly discredit the Defendant without a legitimate legal basis, using the lawsuit as a vehicle to
propagate defamatory content. Such misuse of legal filings to spread false statements
demonstrates reckless disregard for the truth and suggests an ulterior motive—namely, to deflect
accountability from the Plaintiff's own misconduct. This falls squarely within the type of
malicious defamation described in Shapiro, where the court recognized that false, malicious
statements aimed at damaging someone’s reputation are actionable and may be subject to

sanctions.

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Il. MISUSE OF LEGAL.PROCESS.AS.A. VEHICLE FOR.DEFAMATION

87 Sanctions are particularly appropriate when defamatory statements are made as part of a
broader misuse of the legal process. While statements made in the course of litigation may enjoy
a limited privilege, Maryland courts have recognized that this privilege does not apply when the
legal process is being abused for improper purposes, such as to defame or discredit a party
without a legitimate legal basis.

88 In Beardsley v. Tait, 69 Md. App. 52 (1986), the Maryland Court of Special Appeals
held that legal privilege does not extend to statements made with malice or in bad faith,
especially when the litigation is used as a tool to harm another’s reputation. This principle is
directly relevant here, where the Plaintiff and Miles & Stockbridge have weaponized the lawsuit
to make defamatory statements with the intent to harm the Defendant, rather than to resolve a
legitimate dispute. By filing a lawsuit with false allegations, the Plaintiff is effectively using the
legal process to amplify the harm caused by the defamation, thereby stripping themselves of any
privilege that might otherwise apply to statements made in court filings.

89 The malicious intent, combined with the abuse of the legal process, makes this
defamation sanctionable under Maryland law. Courts have broad authority to impose sanctions
when parties misuse legal proceedings to harass, defame, or harm others. Under Rule 11 of the
Federal Rules of Civil Procedure or equivalent Maryland state rules, sanctions may be imposed

when legal filings are used in bad faith or with the intent to mislead the court or harm a party.

Il. DEFAMATION AS BAD FAITH CONDUCT. WARRANTING SANCTIONS

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90 Courts have inherent authority to sanction parties for bad faith conduct, including the

filing of lawsuits with malicious intent. In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the

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Supreme Court affirmed that courts have the inherent power to impose sanctions for bad faith
conduct, particularly when the legal process is misused to harm others. Misrepresentations,
defamatory filings, and the use of litigation as a tool for personal vendettas are considered
sanctionable misconduct under both state and federal rules.

9] Similarly, Maryland courts recognize that defamatory statements made in bad faith
during litigation not only harm the individual but also undermine the integrity of the judicial
system. In In re Kittleman, 312 Md. 329 (1988), the Maryland Court of Appeals held that
attorneys and parties who knowingly mislead the court or engage in malicious litigation tactics
can face sanctions, including fines, adverse rulings, and other punitive measures. When
defamatory statements are made with the intent to harm a party’s reputation as part of a larger
strategy to evade accountability or inflict damage, sanctions are necessary to uphold the fairness

of the judicial process.

IV. GROUNDS.FOR. SANCTIONS: HARM TO. REPUTATION. AND LEGAL ABUSE

92 The harm caused by defamatory statements made in the context of legal proceedings is
both personal and professional. The Defendant’s reputation has been damaged by the false
allegations made in the lawsuit, and the public nature of the litigation has amplified this harm.
These defamatory statements were not made in pursuit of a legitimate legal claim but rather to
damage the Defendant’s standing and divert attention from the Plaintiff's own misconduct.

93 The Plaintiff and Miles & Stockbridge’s conduct is not only defamatory but also
constitutes an abuse of the legal process. By using the lawsuit as a platform to spread false and

damaging statements, they have engaged in bad faith litigation that undermines the integrity of

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the court. Sanctions are warranted to address this misuse of the legal system, deter future bad

faith conduct, and provide some remedy for the harm caused to the Defendant’s reputation.

CONGIVSION: SANCTIONS. ABE. WARRANTER.FOR DEFAMATORY. CONDUCT,

94 Based on Shapiro v. Massengill, false and malicious statements made with the intent to
harm another’s reputation are actionable and sanctionable under Maryland law. The Plaintiff and
Miles & Stockbridge’s use of the lawsuit to spread false allegations constitutes defamation, made
with malice and aimed at damaging the Defendant’s reputation. Given the clear misuse of the
legal process, this conduct warrants sanctions to uphold the integrity of the court and to deter
further abuses of the legal system.

95 The court should consider appropriate sanctions, including monetary penalties or other
remedies, to address the harm caused by this defamatory conduct and to ensure that such misuse

of the legal process does not go unpunished.

E ADA Violation: Denial of Reasonable Accomodation and Misrepresentation of Facts

96 The Plaintiff, Ohana Growth Partners, and their counsel, Miles & Stockbridge, violated
the Americans with Disabilities Act (ADA) by misrepresenting facts surrounding the
Defendant’s reasonable accommodation requests for an extension or continuance. The
Defendant, who is disabled, sought a continuance and extension to secure new legal
representation and to accommodate his disability, which is a recognized reasonable
accommodation under the ADA.

97 In this instance, the Defendant initially attempted to resolve the issue informally by

requesting additional time, before escalating the matter by filing a formal motion. Despite this

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reasonable request, the Plaintiff and Miles & Stockbridge refused to grant the accommodation.
Instead, they misled the court by falsely presenting the situation as though the Defendant had
never made such a request. By doing so, they effectively denied the Defendant his rights under
the ADA.

98 Under Title II of the ADA, public entities, including courts, are required to provide
reasonable accommodations to individuals with disabilities to ensure full and equal access to the
legal process. This includes granting extensions or continuances to disabled litigants when
necessary to accommodate their medical needs or impairments. The Defendant's request fora
continuance was reasonable, particularly given his disability and his need to secure new legal
representation. Denying such a request violates the ADA’s mandate to provide equitable
treatment in legal proceedings.

99 Furthermore, the refusal to grant reasonable accommodation, combined with the
misrepresentation of the Defendant's requests to the court, imposed unnecessary hardship on the
Defendant, who was already in a vulnerable position due to his disability. The Defendant was
ultimately denied the time he needed to resecure legal counsel and to prepare an adequate
defense, which constitutes a deprivation of his rights under the ADA.

100 Importantly, granting the requested extension or continuance would not have caused any
undue burden to the Plaintiff or the court. Courts have consistently held that reasonable
accommodation, particularly in the form of continuances or extensions, should be granted unless
doing so would cause significant delay or disruption to the proceedings. In Shapiro v. Cadman
Towers, Inc., 51 F.3d 328, 333 (2d Cir. 1995), the court held that a reasonable accommodation

under the ADA is required unless it imposes an undue burden or hardship on the other party or

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on the legal system itself. Here, no such hardship or undue burden would have resulted from the
Plaintiff granting the Defendant’s request for additional time.

101. Additionally, the timing of the Plaintiff's actions is troubling. The Defendant’s request for
a continuance coincided with the day he was unlawfully suspended and later terminated, adding
to the appearance of retaliation. Denying the extension and refusing to acknowledge the
accommodation request, all while misrepresenting the facts to the court, further underscores the
unethical and potentially unlawful nature of the Plaintiff's conduct.

102. The denial of the Defendant's reasonable accommodation request and the subsequent
misrepresentation of facts to the court constitute a violation of the ADA. By refusing to grant a
reasonable extension or continuance, the Plaintiff and Miles & Stockbridge acted in bad faith,
unjustly disadvantaging a disabled individual and depriving him of his right to a fair legal
process. Given that the requested accommodation would not have imposed any undue burden or
hardship, the denial was both unnecessary and unlawful under the ADA.

Legal Basis:

103. Under the Americans with Disabilities Act (ADA), 42 U.S.C. § 12101, individuals with
disabilities are entitled to reasonable accommodations in legal proceedings, including requests
for extensions or continuances when necessary due to their disability. The ADA prohibits not
only outright denial of these accommodations but also conduct that effectively denies these
rights, such as misrepresentation or failure to properly inform the court of such requests.

104 The Defendant in this case, as a disabled individual, had a lawful right to request
reasonable accommodations in the form of a continuance or extension to secure legal

representation and manage his disability. The Plaintiff and their counsel, Miles & Stockbridge,

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refused to grant the requested accommodation and further compounded this violation by
misrepresenting the Defendant’s request to the court. This denial and misrepresentation

constitute a violation of the ADA, making their actions subject to sanctions.

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105 The ADA mandates that public entities, including courts, provide reasonable
accommodations to ensure full and equal participation by individuals with disabilities. Under
Title I] of the ADA and its implementing regulations, failing to provide such accommodations
can result in sanctions against the offending party, particularly when there is bad faith or
deliberate misrepresentation.

106 Courts have found that the intentional denial of a reasonable accommodation, especially
when accompanied by misleading conduct, not only violates the ADA but also undermines the
integrity of judicial proceedings. In Battaglia v. McKendry, 233 F.3d 720 (3d Cir. 2000), the
court sanctioned a party for failing to provide reasonable accommodations under the ADA,
emphasizing that such violations, especially when done willfully or with disregard for the

disabled individual’s rights, justify judicial intervention through sanctions.
SANCTIONS. FOR, MISREPRESENTATION.IN. ADA ACCOMMODATION. REQUESTS.

107 Sanctions are appropriate in this case not only for the denial of the Defendant’s
accommodation but also for the misrepresentation of facts surrounding the request. Misleading
the court about a defendant’s efforts to obtain reasonable accommodations is a serious violation
of professional ethics and constitutes sanctionable conduct under federal and state procedural

rules.

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108 Misrepresentation in legal proceedings can also fall under the court's inherent authority to
sanction parties that act in bad faith. In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the
Supreme Court affirmed the inherent power of courts to issue sanctions for bad faith conduct,
particularly when a party misleads the court or engages in conduct that abuses the judicial
process. Misrepresenting the existence of a reasonable accommodation request made by a
disabled defendant would clearly fall within this category of sanctionable behavior.

109 Furthermore, Maryland courts have similarly recognized the importance of integrity in
judicial proceedings. In In re Kittleman, 312 Md. 329 (1988), the Maryland Court of Appeals
held that attorneys who knowingly mislead the court, particularly in situations involving the
rights of vulnerable parties, are subject to sanctions, including fines, contempt, or
disqualification. In this case, the misrepresentation of the Defendant’s accommodation request

not only violated the ADA but also deceived the court, making sanctions an appropriate remedy.

110 Violating the ADA in the legal process, particularly through the denial of reasonable
accommodations and misrepresentation, can result in a range of sanctions, including monetary
penalties, adverse rulings, or dismissal of claims. Federal courts have broad discretion to impose
sanctions under Rule 11 of the Federal Rules of Civil Procedure or similar state rules when a
party submits false statements or misrepresents critical facts to the court.

111 Under 42 U.S.C. § 12188, which provides enforcement mechanisms for ADA violations,
courts may grant appropriate relief to ensure compliance with the statute, including injunctive

relief and penalties. While this provision primarily addresses discrimination in public

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accommodations, courts have extended its principles to judicial misconduct that results in the
denial of ADA rights.

112 In this case, Plaintiff and Miles & Stockbridge’s refusal to grant a reasonable
accommodation and subsequent misrepresentation to the court caused harm to the Defendant by
obstructing his ability to prepare and defend his case. This conduct violates both the ADA and

ethical obligations under professional rules of conduct, warranting sanctions.

CONCLUSION: SANCTIONS. ARE. WARRANTER. ROR THE. DENIAL OF. ADA,

ACCOMMOPATIONS.AND. MISREPRESENTATION

113. The refusal to provide a reasonable accommodation and the misrepresentation of the
Defendant’s request before the court constitute a violation of the ADA, specifically 42 U.S.C. §
12101. Given that this conduct deprived the Defendant of his rights under the ADA and misled
the court, sanctions are both justified and necessary to rectify the harm done. Misrepresentation
regarding ADA accommodations is a serious breach that not only violates the statute but also
undermines the fairness of the legal process. Therefore, the court should impose appropriate
sanctions, including monetary penalties or other corrective measures, to address the violation and

ensure compliance with the ADA.

F Retaliatory Litigation and Escalation of Resolved Dispute
114. The Plaintiff, Ohana Growth Partners, and their counsel, Miles & Stockbridge, engaged

in retaliatory litigation following an accord reached between the Defendant and Ryan Dillon-
Capps. Rather than honoring the resolution of the dispute, their involvement escalated the matter

into punitive legal action. The case was presented under false pretenses, with Miles &

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Stockbridge framing the situation as one where negotiations had failed, misleading the court. In
response to direct questions from the bench, Plaintiff's counsel provided evasive, nearly
inaudible responses, including dismissive gestures, signaling their intent to obscure the facts.
115 From the outset, Miles & Stockbridge, in concert with Ohana Growth Partners, engaged
in a concerted effort to retaliate against the Defendant, potentially to silence whistleblowing
activities. This litigation appears to be part of a broader scheme to suppress the Defendant's

attempts to expose serious misconduct, including but not limited to:

I. RETALIATION FOR. WHISTLEBLOWING ON CORPORATE MISCONDUCT:

The Defendant raised concerns about retaliatory actions involving Richard Hartman and Darren
Koritzka, the latter being placed on leave of absence under questionable circumstances. The
Defendant’s involvement in reporting these internal issues likely served as a trigger for this

retaliatory legal action.’

Yl.  ATTEMPTS.1Q.CONCEAL FRAUD INVESTIGATIONS:

Evidence had been submitted, including email communications and screenshots, challenging the
integrity of a fraud investigation initiated by Ohana Growth Partners. This investigation was
compromised from the outset, as it began only after fraud had already been confirmed through a
written admission. Miles & Stockbridge’s legal guidance and conduct in this matter helped
obstruct further inquiry into the fraudulent activities, effectively protecting those responsible

rather than seeking transparency.

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The Plaintiff's retaliatory actions also appear tied to the Defendant’s insistence on investigating
HR irregularities and accounting discrepancies, which were ignored by Glenn Norris and others
within Ohana Growth Partners’ leadership. Notably, the HR investigation failed to interview a
key witness, despite the witness being the person who initially reported the incident.
Additionally, the Defendant raised serious concerns about the accounting practices used by
Glenn Norris in financial certifications to the banks during refinancing efforts, highlighting
inflated numbers that could have far-reaching implications.

116 The filing of this case by Miles & Stockbridge on behalf of Ohana Growth Partners
represents not a legitimate legal dispute, but a calculated attempt to discredit the Defendant and
avoid scrutiny of the serious allegations raised. This constitutes retaliatory litigation under both
federal and state laws protecting whistleblowers and individuals who expose corporate fraud or
wrongdoing. The timing, manner, and context of this lawsuit reflect an intent to punish the
Defendant for raising legitimate concerns that have been systematically ignored or covered up.
117 This type of retaliatory litigation is not only unethical but also unlawful. Courts have
recognized that when legal action is initiated as a response to an individual’s attempt to expose
fraud or wrongdoing, the action may be deemed retaliatory. For instance, in Darveau v.
Detecon, Inc., 515 F.3d 334 (4th Cir. 2008), the court held that an employer's lawsuit against a
whistleblower could constitute illegal retaliation if it was filed with a retaliatory motive rather
than for legitimate legal purposes. Similarly, under the Maryland Whistleblower Protection

Act (Md. Code, State Pers. & Pens. § 5-305) and Sarbanes-Oxley Act (18 U.S.C. § 1514A),

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retaliatory actions against individuals who report corporate fraud or participate in investigations
are expressly prohibited.

118 Here, the evidence suggests that Miles & Stockbridge, through their legal representation
of Ohana Growth Partners, furthered retaliatory motives. Instead of resolving the issues raised,
they have utilized the legal process to suppress the Defendant’s efforts to expose fraud,
misconduct, and other irregularities within the company. Their participation in these actions
raises significant ethical concerns and adds to the liabilities faced by their client, as their
guidance has led to the filing of baseless claims aimed at silencing the Defendant rather than
addressing the underlying problems.

119 The Defense respectfully submits that this litigation, founded on retaliatory motives,
should be viewed as an abuse of the legal process. The actions of Miles & Stockbridge and
Ohana Growth Partners reflect bad faith and demonstrate a clear intent to punish the Defendant

for lawfully raising concerns about corporate misconduct.

Legal Basis:

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120 At the federal level, retaliation claims are broadly governed by Title VII of the Civil
Rights Act of 1964, which protects individuals from adverse actions taken in response to the
exercise of their legal rights. The U.S. Supreme Court, in Burlington N. & Santa Fe Ry. Co. v.
White, 548 U.S. 53 (2006), provided a key framework for understanding retaliation. The Court
held that retaliation includes not only employment actions like firing or demotion but also any
adverse action that could dissuade a reasonable person from pursuing or supporting a claim. This
broader interpretation of "adverse actions" applies to actions that, while not directly impacting

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employment or financial standing, still seek to intimidate, punish, or dissuade the individual from
exercising their legal rights.

121 Burlington is particularly relevant to the concept of retaliatory lawsuits, which can be
used as a tool to punish individuals for engaging in protected activities, such as whistleblowing
or reporting misconduct. The Court’s ruling emphasized that retaliation is not confined to
workplace issues but can extend to any conduct that imposes burdens on the individual in
response to their lawful actions. This reasoning has been widely adopted by courts to address
retaliatory litigation as an extension of adverse actions designed to silence individuals through
legal harassment, rather than resolve legitimate disputes.

122  Retaliatory lawsuits, in this sense, serve to impose unnecessary costs, stress, and burdens
on defendants, effectively punishing them for exercising their rights, such as whistleblowing or
reporting fraud. In the federal framework, such lawsuits are viewed as actionable under
retaliation and abuse of process doctrines, particularly when filed with the intent to deter further

legal or ethical action by the defendant.

MARYLAND. RETAMATION LAW. EXPANDING ON. REDERAL STANDARDS

123. Maryland law builds upon the broad federal understanding of retaliation established by
Burlington, while also providing its own set of protections and legal interpretations, particularly
for whistleblowers and individuals subject to retaliatory actions. Maryland courts have
recognized that retaliation can take many forms beyond employment actions, including the

misuse of the legal system through retaliatory lawsuits.

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I. MARYLANR. WHISTLEBLOWER PROTECTIONS. AND. RETAMATORY. LAWSUITS

124. Under the Maryland Whistleblower Protection Act, employees and other individuals
who report wrongdoing are protected from adverse actions taken in response to their lawful
disclosures. Maryland courts have consistently applied these protections to ensure that
whistleblowers are not subjected to retaliatory actions, whether through termination, demotion,
or the filing of punitive lawsuits.

125 In Wholey v. Sears Roebuck & Co., 370 Md. 38 (2002), the Maryland Court of Appeals
emphasized that retaliation encompasses any adverse action that would dissuade a reasonable
person from engaging in protected conduct, such as reporting misconduct. This mirrors the broad
standard set in Burlington but is further contextualized in Maryland law to include actions that
go beyond the workplace, extending to any efforts to suppress or punish whistleblowers through
legal means.

126 __Incases involving retaliatory lawsuits, the court has viewed such actions as an extension
of adverse conduct designed to deter individuals from continuing to report or participate in
lawful activities. This approach was reinforced in Montgomery County v. Deibler, 423 Md. 54
(2011), where the Court of Appeals highlighted the importance of protecting whistleblowers

from adverse actions that would have a chilling effect on their willingness to report wrongdoing.

TI.  RETAMATORY.LAWSUITS.AS.AN ABUSE OF PROCESS IN. MARYLAND,

127 Maryland courts also recognize retaliatory lawsuits as a misuse of the legal system, and
in some cases, an abuse of process. In One Thousand Fleet Ltd. Partnership v. Guerriero,
346 Md. 29 (1997), the Maryland Court of Appeals explored the concept of abuse of process,

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where a lawsuit is initiated not to resolve a legitimate legal dispute but for an ulterior motive—
such as punishing or intimidating the opposing party. The court held that when legal actions are
filed with a retaliatory intent, they can constitute an abuse of the legal process and may be
subject to sanctions.

128 Similarly, in Okwa v. Harper, 360 Md. 161 (2000), the court addressed the broader
implications of retaliatory conduct within the legal system. The court recognized that litigation
can be used to inflict harm on individuals exercising their legal rights, including whistleblowers
or those involved in reporting misconduct. In such cases, the courts have indicated that
retaliatory lawsuits are not only unethical but may also undermine the integrity of the legal
process itself. As a result, these lawsuits may warrant dismissal, sanctions, or other corrective

actions by the courts.

CONGIVSIQNS:. RERERAL AND. MARYLAND. RETAMATION PROTECTIONS. CONVERGE

129 Both federal laws, as established in Burlington, and Maryland state law recognize that
retaliation can take many forms, including lawsuits filed with the intent to intimidate or punish
individuals for engaging in protected activities. While Burlington provides the broad federal
framework for understanding adverse actions, Maryland courts have further expanded upon these
principles through cases like Wholey, Deibler, and One Thousand Fleet Ltd. Partnership.
Maryland’s legal framework explicitly addresses the protection of whistleblowers and the misuse
of legal proceedings to suppress or retaliate against individuals exercising their legal rights.

130 In the present case, if the lawsuit by Miles & Stockbridge is found to be retaliatory in

nature, it may not only violate federal and state retaliation laws but could also be considered an

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abuse of process under Maryland law, warranting sanctions and disqualification. Both legal

standards demonstrate that such conduct is unacceptable and sanctionable under the law.

G Obstruction of Evidence

131 Miles & Stockbridge, counsel for Ohana Growth Partners, has actively obstructed the
Defendant’s access to crucial evidence by conditioning the release of a court transcript on the
payment of $12,500 related to fraudulently obtained contempt charges. This conduct not only
violates the Maryland Rules of Professional Conduct but also constitutes a deliberate
obstruction of evidence, impeding the Defendant’s ability to fairly litigate this case. The Court
must address this serious breach through the imposition of appropriate sanctions.

132 Rule 3.4(a) of the Maryland Rules of Professional Conduct specifically prohibits
attorneys from unlawfully obstructing another party's access to evidence or unlawfully altering,
destroying, or concealing a document that has potential evidentiary value. By withholding the
court transcript, Miles & Stockbridge have violated this rule and obstructed the Defendant's
right to access key evidence necessary for their defense. Courts have consistently held that such
actions constitute a serious ethical violation and may warrant sanctions. In Attorney Grievance
Comm ’n of Md. v. Brisbon, 424 Md. 274 (2011), the Maryland Court of Appeals emphasized
that the obstruction of access to evidence fundamentally undermines the integrity of the legal

process and can result in severe professional sanctions.

I. CONRITIONAL RELBASE.QF COURT. TRANSCRIPT.

133. On July 2, 2024, when requested to provide the court transcript for the June 26, 2024

hearing, Miles & Stockbridge conditioned its release on receiving $12,500 from the Defendant.

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This sum is tied to fraudulently obtained contempt charges. By making the release of this
transcript contingent upon payment, they have deliberately obstructed access to critical
evidence. Such actions are unethical and amount to an intentional obstruction of justice, as
they prevent the Defendant from properly defending themselves and preparing for further
litigation.

134. This conduct also potentially constitutes extortion, as it leverages the Defendant’s right
to obtain evidence in exchange for the satisfaction of unlawful contempt charges. The U.S.
Supreme Court has recognized that access to critical evidence is a fundamental right in
litigation. In Hickman v. Taylor, 329 U.S. 495 (1947), the Court held that attorneys must act in
good faith to ensure all parties have access to key evidence in the pursuit of justice, and the
intentional withholding of such evidence violates both ethical duties and the basic principles of

fairness.

135 The court transcript requested by the Defendant is a key piece of evidence necessary to
challenge the fraudulent contempt charges and to substantiate broader claims of bad faith
litigation by the Plaintiff and their counsel. Miles & Stockbridge’s refusal to release this
transcript unless payment is made prevents the Defendant from effectively defending against
these fraudulent claims and preparing for future hearings. The deliberate withholding of

evidence has resulted in significant prejudice to the Defendant, delaying justice and wasting

judicial resources.

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136 —_ In Precision Instrument Mfg. Co. v. Automotive Maintenance Mach. Co., 324 U.S.
806 (1945), the Court held that the withholding of key evidence, particularly in bad faith, is an
act that corrupts the judicial process and demands sanction. By obstructing the Defendant's
access to this transcript, Miles & Stockbridge is actively preventing the Court from achieving a

just resolution, while unfairly burdening the Defendant with increased costs and delays.

137 Theactions of Miles & Stockbridge also constitute an abuse of process. Conditioning
the release of a court transcript on the payment of fraudulently obtained contempt charges is
an improper use of the judicial system’s processes for a purpose unrelated to the fair
administration of justice. As established in One Thousand Fleet Ltd. P'ship v. Guerriero, 346
Md. 29 (1997), an abuse of process occurs when a party misuses legal mechanisms for ulterior
motives, such as extracting payment or harassing the opposing party. Here, the Plaintiff's
counsel has weaponized the court’s contempt powers and the procedural mechanisms
governing the release of evidence to force payment and obstruct the Defendant’s access to
justice.

138 Further, in Palmer Ford, Inc. v. Wood, 298 Md. 484 (1984), the Court made clear that
abuse of process claims are actionable when legal tools are used to exert pressure on an
opposing party for purposes other than legitimate legal aims. By obstructing access to the
transcript, Miles & Stockbridge has violated this principle, leveraging the judicial system to

coerce payment and undermine the Defendant’s ability to contest the charges.

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IV.  IMPACT.ONJURICIAL. INTEGRITY

139 Miles & Stockbridge’s obstruction of evidence through the withholding of the transcript
and their unlawful conditioning of its release undermines the integrity of the judicial process.
In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the U.S. Supreme Court affirmed that courts
have the inherent authority to sanction parties and counsel who abuse the judicial process,
including through the intentional obstruction of evidence. In this case, the refusal to release the
transcript not only violates ethical duties but also directly impacts the Court’s ability to fairly and
efficiently adjudicate the matter.

140 Such conduct warrants severe sanctions, including monetary penalties, referral for
ethical review, and criminal investigation for potential violations related to obstruction of

justice and abuse of process.

141 The deliberate obstruction of evidence by Miles & Stockbridge, through their refusal to
release the court transcript unless payment of fraudulently obtained charges is made, constitutes
a clear violation of the Maryland Rules of Professional Conduct, and an abuse of process
under Maryland law. Their actions have prejudiced the Defendant, undermined the judicial
process, and caused unnecessary delays and costs. The Court should impose appropriate
sanctions to address this serious misconduct, including monetary penalties and referral for

further ethical and criminal review.

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Legal Basis
142 The actions of Miles & Stockbridge in withholding the court transcript until the

Defendant pays $12,500, related to fraudulently obtained contempt charges, constitute a

violation of both the Maryland Rules of Professional Conduct and established case law. Their
actions are a deliberate obstruction of justice, designed to prevent the Defendant from accessing
critical evidence necessary for their defense. These violations, rooted in dishonesty and abuse of

process, provide a clear basis for the imposition of sanctions.

I. RULE.3.4(A)— FAIRNESS TO OPPOSING PARTY. AND.COUNSEL

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143. Under Rule 3.4(a) of the Maryland Rules of Professional Conduct, attorneys are
prohibited from unlawfully obstructing another party's access to evidence or unlawfully
concealing or destroying evidence that has potential evidentiary value. By conditioning the
release of a court transcript on the payment of fraudulently obtained contempt charges, Miles &
Stockbridge engaged in clear obstruction of evidence. This rule explicitly prohibits such
actions, as they hinder the opposing party’s ability to present their case and compromise the
fairness of the judicial process.

144 In Attorney Grievance Comm’n v. Brisbon, 424 Md. 274 (2011), the Maryland Court
of Appeals disciplined an attorney who obstructed access to evidence, emphasizing the critical
importance of allowing both parties equal access to the information necessary for a fair trial. The
conduct of Miles & Stockbridge in this case mirrors this violation, as their refusal to release the
transcript has denied the Defendant access to a key piece of evidence needed to challenge the

fraudulent contempt charges.

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145 Rule 8.4(c) of the Maryland Rules of Professional Conduct prohibits attorneys from
engaging in conduct that involves dishonesty, fraud, deceit, or misrepresentation. By
conditioning the release of the transcript on the payment of $12,500 tied to fraudulent contempt
charges, Miles & Stockbridge engaged in misrepresentation and dishonesty. Their actions
reflect an attempt to leverage a fraudulent court order to extract money from the Defendant
while concealing key evidence that would undermine the Plaintiff's claims.

146 The Maryland Court of Appeals in Attorney Grievance Comm’n vy. James, Jr., 385
Md. 637 (2005), held that attorneys who engage in dishonest conduct by misrepresenting facts
during litigation commit serious ethical violations and may face sanctions, including disbarment.
The conduct of Miles & Stockbridge in withholding critical evidence in exchange for payment
similarly involves misrepresentation and fraud, warranting the imposition of sanctions under

Rule 8.4(c).

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147.‘ The actions of Miles & Stockbridge also constitute an abuse of process. By using the
judicial process to extract payment in connection with a fraudulently obtained court order, they
have manipulated the legal system for an improper purpose. In One Thousand Fleet Ltd.
Partnership v. Guerriero, 346 Md. 29 (1997), the Maryland Court of Appeals defined abuse of
process as the improper use of legal mechanisms for a purpose unrelated to the fair
administration of justice. The Court in that case emphasized that when legal processes are used
to exert pressure or gain an advantage, rather than for legitimate legal purposes, it constitutes

abuse of process.

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148 Similarly, in this case, Miles & Stockbridge’s decision to condition the release of
evidence upon payment directly tied to fraudulent contempt charges constitutes a clear misuse
of judicial processes. Their actions are designed to pressure the Defendant into compliance,
rather than ensure fair litigation. The Court in Palmer Ford, Inc. v. Wood, 298 Md. 484 (1984),
further held that abuse of process claims are actionable when legal mechanisms are used with
improper motives to coerce an opposing party. Miles & Stockbridge’s conduct aligns with this
standard, as they have used the court’s processes to create an unlawful barrier to the

Defendant’s access to evidence.

IV. CONCLUSION;. GROUNDS FOR SANCTIONS

149 The conduct of Miles & Stockbridge in withholding the July 2, 2024, court transcript
constitutes clear violations of the Maryland Rules of Professional Conduct, specifically Rule
3.4(a) and Rule 8.4(c), which prohibit obstruction of evidence and misconduct involving
dishonesty, fraud, or misrepresentation. Furthermore, their actions amount to an abuse of
process by using judicial mechanisms for improper purposes. The combination of these
violations demonstrates a significant breach of legal ethics and process that has severely
prejudiced the Defendant’s ability to defend themselves.

150 The Court should impose sanctions on Miles & Stockbridge to address these violations,
including monetary penalties, a referral for ethical review, and any other sanctions the Court
deems appropriate under its inherent authority to prevent abuse of process and protect the

integrity of the judicial system.

H_ Disqualification of Counsel

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151. Miles & Stockbridge must be disqualified as counsel for multiple reasons, all of which
are sanctionable under Maryland law. The firm’s continued representation of Plaintiff, Ohana
Growth Partners, is incompatible with the ethical and professional responsibilities required of
attorneys under the Maryland Rules of Professional Conduct. Their involvement presents clear
grounds for disqualification based on two primary factors: (1) a conflict of interest that
compromises their ability to provide competent and ethical representation, and (2) their active
engagement in misconduct, including the submission of fraudulent evidence, which has directly

misled the court.

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152 First and foremost, a clear conflict of interest exists that precludes Miles & Stockbridge
from ethically representing Ohana Growth Partners in this matter. Maryland Rule 1.7 of the
Maryland Rules of Professional Conduct explicitly prohibits attorneys from representing a
client when a conflict of interest impairs their ability to provide competent and loyal
representation. In this case, the firm's actions demonstrate that their divided loyalties and
unethical tactics undermine their ability to serve their client, the Defendant, and the Court.

153 Additionally, Miles & Stockbridge has engaged in egregious misconduct by falsifying
evidence and presenting it to the court. Specifically, the firm fabricated email threads, using an
invalid email address, and submitted these falsified communications as part of their evidence.
This fraudulent material was used to secure an ex parte Temporary Restraining Order (TRO)
under false pretenses. Md. General Provision § 1-351(b) requires that reasonable efforts be

made to notify the opposing party before ex parte relief is sought, and that this be certified to the

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court. By submitting fraudulent evidence, Miles & Stockbridge not only failed to meet this

requirement but also defrauded the court, breaching their duties of candor and truthfulness.

154 Miles & Stockbridge’s conduct directly violates several provisions of the Maryland

Rules of Professional Conduct. Most notably:

1. Rule 3.3 (Candor Toward the Tribunal): This rule prohibits attorneys from
knowingly making false statements or submitting fraudulent evidence to the court. By
fabricating evidence and misleading the court, Miles & Stockbridge has demonstrated
a clear violation of this fundamental ethical rule.

2. Rule 8.4 (Misconduct): This rule governs attorney misconduct and includes
prohibitions against engaging in deceitful or dishonest behavior. Submitting falsified
documents and manipulating the court system to obtain relief under false pretenses
falls squarely within the type of misconduct that is subject to disciplinary action
under Rule 8.4.

155 These violations alone provide sufficient grounds for the disqualification of Miles &
Stockbridge as counsel, as they have shown an inability to maintain the ethical standards
required in litigation and have compromised the integrity of the proceedings. Their actions have
harmed not only the Defendant but also their own client, by exposing Ohana Growth Partners to

further liability and damage to its legal standing.

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156 The Defense is not seeking the disqualification of Miles & Stockbridge as a punitive
measure for their unethical conduct. Rather, the disqualification is necessary to protect the
integrity of the legal process and to prevent the firm from facilitating further baseless litigation.
By remaining as counsel, Miles & Stockbridge enables their client to pursue a claim that is not
grounded in fact or law, which is inconsistent with their ethical duties under the legal
profession.

157. Anethical attorney would not condone the pursuit of litigation based on false pretenses
after hearing both sides of the dispute. Prior to the involvement of Miles & Stockbridge, the
Plaintiff lacked the legal resources or the willingness to engage in such an aggressive and
ethically questionable strategy. The firm’s continued participation in this litigation serves only to
avoid meaningful negotiation and resolution, while pushing forward with a flawed and baseless

claim that no ethical attorney would pursue in good faith.

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158 The firm’s conflict of interest is evident in their motivation to continue representing
Ohana Growth Partners, even in the face of clear ethical violations and a lack of substantive legal
claims. The record demonstrates that instead of presenting evidence to support their case, Miles
& Stockbridge have resorted to repeating flawed legal arguments that lack any context or
merit. Rather than engaging in a legitimate defense or negotiation process, they have focused on

extreme interpretations of the law in pursuit of an untenable ruling.

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159 Furthermore, the Plaintiff has failed to provide any compelling evidence of harm or a
particularized claim. The Plaintiff's case remains unsupported by facts, and the firm’s continued
participation has only exacerbated the legal and ethical conflicts involved. This further highlights
that Miles & Stockbridge is using the legal system to pursue a baseless claim that another ethical

attorney would have likely withdrawn from after understanding the lack of merit in the case.

160 Insummary, Miles & Stockbridge’s continued representation of Ohana Growth Partners
has harmed not only the Defendant but also the Plaintiff and the Court. By misleading the court
and fabricating evidence, they have damaged their client’s credibility and exposed them to
further liability. The firm’s actions have perpetuated an unethical and legally flawed litigation
strategy, which undermines the fairness and integrity of these proceedings.

161‘ To preserve the integrity of this case and ensure that justice is served, the Defense
respectfully submits that Miles & Stockbridge should be disqualified from continuing their
representation. Their disqualification is necessary not only to protect the Defendant but also to
prevent further harm to the Plaintiff and to uphold the court’s duty to maintain fair and ethical

legal proceedings.

Legal Basis

162 Under Maryland Rules of Professional Conduct, Rule 1.7, an attorney must avoid
representing a client when a conflict of interest exists, unless specific conditions are met, such
as informed consent from the client. A concurrent conflict of interest arises when an attorney’s

ability to provide loyal and independent judgment to a client is compromised, either because the

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representation is directly adverse to another client or because the lawyer’s responsibilities to a

third party, a former client, or personal interests materially limit their representation.

I. CONFLICT. OF. INTEREST.AND. DIVIDER. LOYALTIES

163 Rule 1.7 emphasizes that a lawyer cannot represent a client effectively when there is
even the appearance of a conflict of interest. Courts in Maryland have interpreted this rule
strictly. In Kane v. Kane, 146 Md. App. 568 (2002), the court ruled that the preservation of trust
in the legal profession requires attorneys to avoid even potential conflicts that could impact their
ability to provide independent legal advice. In the present case, Miles & Stockbridge’s divided
loyalties have not only impaired their ability to represent Ohana Growth Partners competently
but have also placed their actions at odds with their professional responsibilities.

164 By continuing to represent Ohana Growth Partners despite clear conflicts, Miles &
Stockbridge risks compromising their legal obligations to act in their client's best interest and
with full candor to the court. Their conflict of interest creates divided loyalties, preventing them
from providing ethical representation. Attorney Grievance Commission of Maryland v. Stein,
373 Md. 531 (2003), further underscores that conflicts of interest not only constitute breaches of
ethical duties but also provide grounds for disqualification to protect the integrity of the

proceedings.

Il. COURTS. MANPATE DISQUALIFICATION FOR CONFLICTS. OF INTEREST

165 When aconflict of interest impairs an attorney’s ability to act solely for their client,

disqualification becomes mandatory. In Attorney Grievance Commission v. Stein, the court

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stressed that when divided loyalties arise, the attorney cannot maintain an objective stance on the
case. This is precisely the issue with Miles & Stockbridge—their continued representation of
Ohana Growth Partners is compromised by their conflicted position. Disqualification is
therefore necessary to ensure that the legal proceedings are conducted fairly and that the client

receives independent legal counsel.

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166 Rule 3.3(a) of the Maryland Rules of Professional Conduct establishes an attorney’s
duty to maintain candor toward the tribunal. This rule prohibits attorneys from knowingly
making false statements of fact or law, presenting fraudulent evidence, or failing to correct
falsehoods presented to the court. Attorneys are obligated to act honestly and with integrity,
ensuring that the court can rely on the veracity of the evidence and statements submitted in legal

proceedings.

DUTY. OF CANDOR. AND. SUBMISSION. OF. FRAUDULENT. EVIDENCE

167 = Inthis case, Miles & Stockbridge violated Rule 3.3(a) by submitting falsified email
threads and fabricating evidence to secure an ex parte Temporary Restraining Order (TRO).
The fraudulent nature of these submissions, coupled with the firm’s failure to notify the
Defendant as required by Md. General Provision § 1-351(b), constitutes a severe breach of the
duty of candor.

168 In Attorney Grievance Commission of Maryland v. Vanderlinde, 364 Md. 376

(2001), the court held that "intentional dishonesty, fraud, deceit, or misrepresentation by an

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attorney is almost beyond excuse," and that sanctions must be imposed when such behavior
occurs. The fraudulent conduct by Miles & Stockbridge—fabricating communications and
misleading the court—strikes at the core of judicial integrity and warrants disqualification and

further sanctions.

169 In Sinclair v. Mobile 360, Inc., 149 Md. App. 320 (2003), the court emphasized that
presenting false evidence is a severe breach of an attorney’s ethical obligations and justifies
disqualification and sanctions. The submission of falsified documents constitutes fraud upon
the court, and when it prejudices the opposing party and misleads the tribunal, disqualification is
not only justified but necessary to preserve the fairness of the legal process.

170 Miles & Stockbridge’s fraudulent conduct, including the submission of falsified emails
and the misrepresentation surrounding the TRO, directly harmed the Defendant and eroded the
court’s ability to function impartially. Their actions fit squarely within the framework of
misconduct described in Sinclair, which mandates disqualification and sanctions for attorneys

who knowingly mislead the court.

VI. DISQUALIFICATION. AND. SANCTIONS. ARE. NECESSARY. LQ. PROTECT. THE. INTEGRITX.QF

171 The submission of false evidence and misrepresentation by Miles & Stockbridge
constitutes a clear violation of Rule 3.3(a) and creates the basis for both disqualification and

sanctions. Their actions have caused significant harm to the Defendant and prejudiced the court

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by distorting the facts of the case. Continuing to allow Miles & Stockbridge to represent Ohana
Growth Partners would undermine the judicial process and further violate the principles of fair
and ethical litigation.

172 Asseen in Attorney Grievance Commission v. Vanderlinde and Sinclair v. Mobile
360, the court must act to impose sanctions and disqualification when attorneys engage in
fraudulent conduct that compromises the fairness of the proceedings. In this case, Miles &
Stockbridge’s continued representation would only perpetuate these ethical breaches, making

disqualification necessary to restore the integrity of the court.

VII. CONGCLVSION: LEGAL. BASIS FOR. DISQUALIFICATION AND. SANCTIONS,

173 The conduct of Miles & Stockbridge—including their conflicts of interest under Rule
1.7 and their submission of fraudulent evidence under Rule 3.3(a)—demonstrates a profound
breach of their professional and ethical obligations. Case law, including Kane v. Kane,
Attorney Grievance Commission v. Stein, and Sinclair v. Mobile 360, underscores the need
for disqualification when attorneys’ conflicts of interest or fraudulent conduct threaten the
fairness of legal proceedings. The court must disqualify Miles & Stockbridge and impose
appropriate sanctions to prevent further misuse of the legal system and to uphold the integrity of

the judicial process.

TV RECOMMENDED SANCTIONS
174 Based on the above misconduct, both Plaintiff and Miles & Stockbridge should be subject

to the following sanctions:

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A Monetary Sanctions

175 The Court should impose monetary sanctions on the Plaintiff, Ohana Growth
Partners, and their counsel, Miles & Stockbridge, to fully compensate the Defendant for the
legal fees, costs, and financial harm caused by the Plaintiff's baseless and retaliatory claims.
The Plaintiff's actions—filing a fraudulent lawsuit, securing a fraudulently obtained
Temporary Restraining Order (TRO), and engaging in abuse of process—were not intended
to resolve legitimate legal disputes but rather to harass and financially burden the Defendant.
176 The misconduct of the Plaintiff and their counsel, including defamation, submission of
false evidence, and repeated misuse of legal procedures, constitutes an abuse of the judicial
system. The Defendant has incurred significant legal fees and endured delays in defending
against claims that were frivolous and made without substantial justification. Monetary
sanctions are necessary to compensate the Defendant and deter Miles & Stockbridge and
Ohana Growth Partners from engaging in such unethical and fraudulent practices in future
litigation.

Punitive Damages

177‘ The Plaintiff and their counsel should be held jointly and severally liable for punitive
damages amounting to $5,000 per day, starting from June 14, 2024, and continuing until these
damages are paid in full. This daily amount, split between Ohana Growth Partners and Miles
& Stockbridge at $2,500 per day each, serves as a penalty for their egregious conduct. This
includes attempts to unlawfully deprive the Defendant of liberty and fraudulent submissions

made to mislead the Court.

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178 The imposition of punitive damages is appropriate in this case, given the seriousness of
the Plaintiff and counsel’s misconduct. These punitive damages serve as a deterrent to prevent
future fraudulent and harassing behavior by both Ohana Growth Partners and Miles &
Stockbridge. The daily accrual incentivizes timely compliance and reflects the harm caused by
the fraudulent actions of the Plaintiff.

179 The imposition of punitive damages is supported by BMW of N. Am., Inc. v. Gore, 517
U.S. 559 (1996), where the U.S. Supreme Court recognized the need for punitive damages to
deter willful misconduct involving fraud or deceit. The fraudulent actions of the Plaintiff and
their counsel in this case clearly warrant such punitive measures.

Liguidated Damages

180 The Court should impose liquidated damages to cover all compensatory damages
owed to the Defendant, including lost wages, bonuses, and other compensation. These damages
are necessary to make the Defendant whole after the fraudulent conduct of the Plaintiff and
their counsel. Additionally, a 2x multiplier should apply to these damages, reflecting the serious
nature of the Plaintiffs breach of contract and their deliberate intent to harm the Defendant
financially.

181 Lost Wages: The Defendant is entitled to compensation for wages from June 14, 2024,

through the present, including:

1. Base salary the Defendant would have received had they remained in their position.
2. Salary increases, calculated based on the highest percentage raise granted to any

employee in 2024.

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3. Bonuses, Incentives, and Profit-Sharing: The Defendant is entitled to all reasonable
bonuses, incentives, and profit-sharing they would have received, including:

4, Performance-based bonuses tied to deals or projects in which the Defendant would
have participated.

5. Profit-sharing agreements, calculated based on company practices or industry
standards.

6. Catch-All Compensation: The Defendant is entitled to any additional financial
benefits they would have received, including:
- Any bonuses or payments tied to their position as an executive, employee, or

department head.

- Compensation tied to agreements or discretionary practices related to their role in

the company.

182 Application of the 2x Multiplier: The 2x multiplier applies to all damages awarded to
the Defendant, reflecting the additional harm caused by the Plaintiffs fraudulent conduct and
bad faith breach of contract. This multiplier compensates for the financial burden and stress
imposed on the Defendant.

183 Itemized Statement: Plaintiff's counsel must submit a detailed, itemized statement of
all payments, bonuses, and compensation amounts owed to the Defendant within 7 days of this
Order.

184 Payment Deadline: Both Ohana Growth Partners and Miles & Stockbridge must pay

the full liquidated damages amount within 14 days of the submission of the itemized statement.

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185 The imposition of liquidated damages, subject to a multiplier, is supported by Inlet
Associates y. Harrison Inn Inlet, Inc., 324 Md. 254 (1991), in which the Maryland Court of
Appeals recognized that sanctions should include full compensation for harm caused by bad
faith litigation. The 2x multiplier in this case further ensures that the Defendant is fully
compensated for the harm caused by the breach of contract and fraudulent conduct of the
Plaintiff.

Legal Basis for Monetary Sanctions: Rule 11(b) and Maryland Rule 1-341

186 The imposition of monetary sanctions is fully supported under Rule 11(b) of the Federal
Rules of Civil Procedure and Maryland Rule 1-341, both of which authorize sanctions when
filings are made in bad faith, to harass, or to cause unnecessary delay.

187 Rule 11(b) of the Federal Rules of Civil Procedure requires that parties avoid filings
intended to harass or needlessly increase the cost of litigation. When a party knowingly pursues
litigation with fraudulent claims or misuses the judicial process, sanctions such as punitive
damages are appropriate.

188 Maryland Rule 1-341 allows courts to award reasonable attorney’s fees and expenses
when a party has acted in bad faith or without substantial justification. In Inlet Associates v.
Harrison Inn Inlet, Inc., the Maryland Court of Appeals held that sanctions should be imposed
when a party’s bad faith litigation causes unnecessary expense to the opposing party.

189 These rules support both the punitive and liquidated damages requested by the
Defendant. The fraudulent actions and false submissions made by the Plaintiff and their
counsel have resulted in significant financial harm to the Defendant, and monetary sanctions are

essential to compensate for these costs and deter future misconduct.

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Failure to Address Merits and Enhanced Damages

190 The Plaintiff's counsel, Miles & Stockbridge, deviated from their typical strategy of
contesting substantive claims to minimize damages, as seen in cases such as Streeter v. Walden
University LLC and Claudio De Simone v. Alfasigma USA, Inc.. In those cases, Robert
Brennen and the firm robustly defended against the claims, often securing favorable outcomes
through procedural challenges. However, in the present case, the firm’s failure to engage with
the merits of the Defendant’s claims suggests a greater culpability or acknowledgment of the
validity of those claims.

191 This strategic shift mirrors the behavior identified in Matsushita Elec. Indus. Co. v.
Epstein, 516 U.S. 367 (1996), where the U.S. Supreme Court noted that avoiding substantive
defenses may indicate an implicit concession. Similarly, in Schlumberger Techs., Inc. v.
Swanson, 959 F.2d 720 (8th Cir. 1992), the court emphasized that when a defense counsel
avoids addressing substantive issues, it can signal fault or acknowledgment of liability,
justifying enhanced damages.

192. The Defendant requests a 2x multiplier on all liquidated damages to reflect this greater

culpability and the harm caused by Miles & Stockbridge’s strategic decisions.

nclusion: Mone Sanctions Are Essential to Compensate the Defendant and Deter
Future Misconduct

193 Monetary sanctions are essential to fully compensate the Defendant for the significant
legal fees, costs, and financial harm caused by the Plaintiff's fraudulent litigation and bad
faith conduct. The Plaintiff's misuse of the legal system, including fraudulent filings,
misrepresentation, and failure to engage with the case’s merits, warrants the imposition of

both punitive and liquidated damages.

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194 By imposing these monetary sanctions and a 2x multiplier on liquidated damages, the
Court ensures that the Defendant is fully compensated for the financial burden caused by the
Plaintiff and their counsel. These sanctions also serve as a deterrent to prevent Ohana Growth

Partners and Miles & Stockbridge from engaging in similar misconduct in the future.

B Dismissal of Claims with Prejudice
195 Given the Plaintiff's misconduct and the fraudulent nature of this litigation, the Plaintiff's
claims should be dismissed with prejudice. The record reflects a sustained misuse of the judicial
process by the Plaintiff and their counsel, Miles & Stockbridge, aimed at retaliating against the
Defendant, misleading the court, and evading legitimate legal outcomes. This litigation has not
been pursued in good faith and has caused unnecessary harm to the Defendant, who has been
subjected to baseless claims, fraudulent evidence, and intentional delays.
196 Dismissal with prejudice is a fitting remedy for these abuses because it not only
terminates the Plaintiffs meritless claims but also prevents them from refiling or pursuing the
same baseless allegations in the future. This sanction would serve to protect the integrity of the
judicial process and deter the Plaintiff from further misconduct. Allowing this litigation to
continue or permitting the Plaintiff to refile these claims would only compound the abuse of the

judicial system that has already occurred.

Basis for Dismissal with Prejudice

197 Courts have the authority to dismiss a case with prejudice when a party’s conduct

demonstrates willful bad faith, fraud, or an intent to manipulate the court. Such a dismissal is

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considered an appropriate remedy in cases where the party’s actions show a deliberate and
egregious disregard for the rules of procedure and the integrity of the judicial system.

198 In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the U.S. Supreme Court affirmed the
inherent power of courts to issue sanctions, including dismissal with prejudice, when a party acts
in bad faith or perpetrates fraud upon the court. Courts can impose this severe sanction when no
lesser remedy would adequately address the harm caused by the party’s misconduct. In this case,
the Plaintiff's fraudulent submission of evidence, bad faith litigation tactics, and misuse of legal
procedures to harass the Defendant all warrant the strongest available sanction—dismissal with
prejudice.

199 Additionally, in Shaffer v. Gilmer, 61 Md. App. 585 (1985), the Maryland Court of
Special Appeals recognized that dismissal with prejudice is justified when a party’s conduct
demonstrates intentional wrongdoing or a pattern of abusive litigation practices. The Plaintiff's
actions in this case are precisely the kind of willful misconduct that justifies dismissal with
prejudice, as they have repeatedly misled the court and used the judicial process to pursue a

retaliatory and meritless lawsuit.

Further Consideration. Dismissal

200 =‘ The Plaintiff's continued pursuit of this baseless litigation, despite being aware that their
claims lack factual and legal support, demonstrates a disregard for the court’s resources and the
Defendant’s rights. Dismissal with prejudice would not only terminate the present lawsuit but
also send a clear message that the judicial system cannot be used as a tool for retaliation or to

mislead the court.

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201 Courts, including in Blake v. Blake, 341 Md. 326 (1996), have stressed the importance
of imposing meaningful sanctions to prevent the misuse of legal proceedings. A dismissal with
prejudice serves as a strong deterrent against further abuse of process and ensures that the

Plaintiff is held accountable for the harm their actions have caused.

Conclusion: Dismissal with Prejudice is Necessary and Just

202 The Plaintiff's bad faith actions, including the submission of fraudulent evidence and
the pursuit of a meritless lawsuit, constitute a severe abuse of the judicial process. Dismissal
with prejudice is the only appropriate sanction to address this misconduct, as it prevents further
manipulation of the legal system and protects the Defendant from continued harassment.

203 By dismissing the claims with prejudice, the Court will ensure that the Plaintiff cannot
refile these fraudulent claims and will affirm its commitment to maintaining the integrity of the
judicial process. Given the egregious nature of the Plaintiff's conduct, no lesser sanction would

suffice to rectify the harm caused or to prevent future abuses.

C Referral for Ethical Review
204 In light of the serious ethical violations committed by Miles & Stockbridge, this
Honorable Court should refer the firm to the Maryland State Bar for disciplinary action. The
firm’s conduct in this case—including falsifying evidence, making false statements to the
court, and engaging in a conflict of interest—constitutes a significant breach of the Maryland
Rules of Professional Conduct and demands professional accountability. These actions
undermine the integrity of the legal profession and warrant a formal review by the appropriate

bar association.

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205  Areferral for ethical review is necessary to address the gravity of the misconduct.
Attorneys are held to the highest standards of honesty, integrity, and professional responsibility,
and Miles & Stockbridge’s actions fall far short of these standards. Their behavior reflects not
only a disregard for the rules governing attorney conduct but also a blatant attempt to manipulate
the legal system for improper purposes. To maintain public confidence in the legal profession,

these ethical violations must be thoroughly investigated and appropriately sanctioned.

Basis for Referral: Violations of Maryland Rules of Professional Conduct
206 Miles & Stockbridge’s conduct in this case constitutes a violation of several critical

rules under the Maryland Rules of Professional Conduct, specifically:

1. Rule 3.3(a) (Candor Toward the Tribunal): This rule imposes an obligation on
attorneys to avoid making false statements of fact or law to the court or presenting
fraudulent evidence. In this case, Miles & Stockbridge falsified email threads and
knowingly submitted this false evidence to the court to secure an ex parte Temporary
Restraining Order (TRO) under false pretenses. This egregious breach of the duty of
candor is an ethical violation of the highest order and warrants disciplinary action.

2. Rule 1.7 (Conflict of Interest: Current Clients): This rule governs conflicts of interest
and prohibits attorneys from representing a client when that representation involves a
conflict that materially limits the attorney’s ability to provide independent and ethical
advice. Miles & Stockbridge engaged in a clear conflict of interest by pursuing a
legally questionable and ethically compromised litigation strategy on behalf of Ohana

Growth Partners, despite knowing that their continued representation created divided

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loyalties. Such conflicts impair the attorney’s ability to act solely in the client’s best
interests and undermine the fairness of the proceedings.
207 In Attorney Grievance Commission of Maryland v. Stein, 373 Md. 531 (2003), the
Court of Appeals of Maryland emphasized that ethical violations, especially those involving
conflicts of interest and the intentional presentation of false evidence, warrant strict disciplinary
measures. The professional misconduct in this case rises to the level of requiring formal

disciplinary review by the state bar.

Ethical Violations and the Necessity for Professional Discipline

208 Ethical violations of this magnitude require a referral to the appropriate regulatory body
for investigation and potential sanctions. The Maryland Rules of Professional Conduct are
designed to ensure that attorneys act with honesty and integrity, particularly in their dealings
with the court. When attorneys breach these fundamental duties—as Miles & Stockbridge has
done here—it compromises not only the immediate proceedings but also the broader trust in the
legal profession.

209 The Maryland Court of Appeals has consistently held that violations of the duty of
candor and conflicts of interest are among the most serious ethical breaches. In Attorney
Grievance Commission v. Vanderlinde, 364 Md. 376 (2001), the court noted that “intentional
dishonesty, fraud, deceit, or misrepresentation by an attorney is almost beyond excuse” and must
be addressed through professional discipline. Similarly, conflicts of interest undermine the core
principles of loyalty and independent judgment, which are essential to the practice of law.

210 By referring Miles & Stockbridge to the state bar for disciplinary action, the court
ensures that these violations are subject to appropriate scrutiny and that the firm is held

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accountable for its unethical conduct. This referral would serve as a deterrent to future
misconduct and affirm the legal profession’s commitment to maintaining the highest ethical

standards.

Conclusion: Referral for Ethical Review is Necessary

211 Miles & Stockbridge has engaged in serious ethical violations, including the
submission of fraudulent evidence, misleading the court, and acting with a clear conflict of
interest. These actions violate Rule 3.3(a) and Rule 1.7 of the Maryland Rules of Professional
Conduct and have caused significant harm to the Defendant and the judicial process. The gravity
of these violations requires a formal referral to the Maryland State Bar for disciplinary action.
212 The Defendant respectfully requests that this Honorable Court refer Miles &
Stockbridge to the appropriate regulatory body to ensure that their conduct is investigated, and
that necessary professional discipline is imposed. Such a referral is crucial not only to protect the
integrity of these proceedings but also to maintain public trust in the legal system and the ethical

standards governing attorneys.

D Referral to Attorney General Criminal Review
213 Miles & Stockbridge and their client may have violated several criminal statutes under
Maryland law, including:

Violation of Marvland Personal Information Protection Act (PIPA), Md. Code Ann.,
Com. Law § 14-3503(a)

214 =‘ The Plaintiffs actions violate the Maryland Personal Information Protection Act

(PIPA), Md. Code Ann., Com. Law § 14-3503(a), which mandates that businesses implement

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access controls to limit access to personal information, such as cardholder data, based on a
legitimate business need to know. The Plaintiff sought to bypass Payment Card Industry
(PCI) Compliance by granting access to sensitive information without providing a clear
business justification, in direct violation of PCI standards and Maryland law. This reckless
disregard for data protection protocols places cardholder information at risk and further

evidences the Plaintiff's unlawful conduct in circumventing compliance requirements.

Perjury (Md. Code, Crim, Law § 9-101

215 The Plaintiff and several of its executives, as alleged by the Defendant, made false
statements under oath in their filings, constituting perjury under Md. Code, Crim. Law § 9-
101. Perjury involves willfully making false statements under oath or submitting false affidavits
to the court. The use of fraudulent evidence and false affidavits in this case is a direct violation
of this statute. By knowingly filing false statements, Miles & Stockbridge and their client have
attempted to deceive the court and mislead the judicial process, warranting potential criminal

charges for perjury.

Fraud (Md. Code, Crim. Law § 8-301 and § 8-402)

216 The fraudulent activities involved in this litigation, including the fabrication of email
threads, unauthorized use of the Defendant’s name in official filings, and falsified events to
cover up illegal financial activities, constitute felony fraud under Md. Code, Crim. Law § 8-
301 and § 8-402. Fraud is defined as knowingly and willfully deceiving another party for
personal or financial gain. The fabricated evidence used to file a fraudulent lawsuit against the

Defendant and tamper with official records is sufficient grounds for criminal charges. These

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actions not only harmed the Defendant but also corrupted the legal process, warranting criminal

investigation.

Conspiracy (Md. rim. Law § 9-802

217 The coordination between multiple parties to fabricate events, falsify evidence, and
retaliate against the Defendant suggests a criminal conspiracy under Md. Code, Crim. Law §
9-802. Conspiracy occurs when two or more parties collaborate to commit an unlawful act or to
achieve a lawful result through unlawful means. In this case, the Plaintiff, alongside Miles &
Stockbridge, engaged in a conspiracy to commit fraud, identity theft, and harassment against
the Defendant. These coordinated actions, designed to obstruct the Defendant’s legal rights and

cover up financial misconduct, meet the legal threshold for criminal conspiracy.

bstruction of Justice (Md. Code, Crim. Law § 9-306
218 The Plaintiff and their legal representatives may also be guilty of obstruction of justice
under Md. Code, Crim. Law § 9-306 for tampering with financial records, filing fraudulent
lawsuits, and interfering with the Defendant’s ability to bring legal action. Obstruction of justice
involves any act that impedes the proper administration of law, such as falsifying evidence,
misleading the court, or attempting to prevent the whistleblower from exposing unlawful
activities. In this case, the Plaintiff's intentional manipulation of records and legal proceedings is

a direct violation of this statute and should be subject to criminal penalties.

Reckless Endangerment (Md. Code, Crim. Law § 3-204)

219 The Plaintiff's escalating harassment and retaliatory actions, which contributed to the

onset of the Defendant’s life-threatening condition of catatonia, constitute reckless

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endangerment under Md. Code, Crim. Law § 3-204. Reckless endangerment occurs when a
person’s actions create a substantial risk of serious physical harm to another individual. The
extreme stress and mental anguish caused by years of retaliatory litigation and harassment placed
the Defendant’s health in serious jeopardy. This deliberate disregard for the Defendant’s well-
being, despite knowing the potential harm, warrants criminal review for reckless

endangerment.

riminal Negligence (Common Law
220 The employer’s ongoing retaliation, including gender-based harassment, violations of
the Family and Medical Leave Act (FMLA), and repeated hostile actions, demonstrates a
pattern of criminal negligence under Maryland common law. Criminal negligence involves a
failure to exercise the care that a reasonably prudent person would under similar circumstances,
leading to serious harm. In this case, the Plaintiff's continuous acts of retaliation resulted in both
physical and emotional harm to the Defendant, contributing to the development of a severe
medical condition. The criminal negligence displayed by the Plaintiff and Miles & Stockbridge

merits a thorough investigation to determine if further charges should be pursued.

Justification for Criminal Review: Protection of Legal Process and Public Safety

221 The extreme actions taken by Miles & Stockbridge—including falsifying documents,
filing fraudulent lawsuits, obstructing justice, and endangering the health and safety of the
Defendant—are not simply unethical; they are potentially criminal. The Maryland Attorney
General’s Office is well-equipped to investigate these serious violations and determine whether

criminal charges are appropriate.

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222 In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the U.S. Supreme Court affirmed the
importance of criminal referrals when a party’s conduct violates the law and undermines the
judicial process. The fraudulent and reckless actions by Miles & Stockbridge have done just
that—undermining the integrity of this court and causing severe harm to the Defendant. A
criminal review is not only justified but necessary to ensure that such conduct is punished and

prevented in the future.

Conclusion: Referral for Attorney General Criminal Review is Essential

223 The misconduct of Miles & Stockbridge—including perjury, fraud, conspiracy,
reckless endangerment, and criminal negligence—warrants a comprehensive criminal
investigation by the Maryland Attorney General’s Office. These actions are not simply
unethical but may rise to the level of criminal offenses under Maryland law. The Defendant
respectfully requests that this Honorable Court refer Miles & Stockbridge and the Plaintiff for
criminal review to ensure that their actions are investigated and prosecuted to the fullest extent
of the law.

224  Suchareferral is critical not only to protect the integrity of the judicial system but also to
hold accountable those who endanger the lives and rights of others through fraudulent and

criminal conduct.

E Disqualification of Counsel

225 Miles & Stockbridge must be disqualified from representing Ohana Growth Partners
in this matter due to their clear conflict of interest and their fraudulent misrepresentation of

facts before the Court. Their continued involvement in the case has compromised the fairness

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and integrity of the proceedings. Disqualification should come with a prohibition from further
participation in this case to prevent additional harm to the judicial process and the Defendant.
226 ‘The firm's ongoing representation of Ohana Growth Partners has been tainted by
unethical conduct, including falsifying evidence and misleading the Court. Their actions have not
only violated ethical standards but also created an untenable position where they cannot provide
independent and competent representation. Allowing them to continue would perpetuate these

violations and further undermine the proceedings.

Basis for Disqualification: Rules 1.7 and 3.3 of the Maryland Rules of Professional
Conduct

227 Disqualification is warranted under the Maryland Rules of Professional Conduct,
specifically:
¢ Rule 1.7 (Conflict of Interest): The clear conflict of interest exhibited by Miles &
Stockbridge makes it impossible for them to offer impartial and competent legal
representation. Their divided loyalties have compromised their ability to act solely in the
best interest of Ohana Growth Partners, creating a situation where their participation in
the case is ethically untenable.
¢ Rule 3.3 (Candor Toward the Tribunal): Miles & Stockbridge has violated this rule
by submitting false statements and fraudulent evidence to the Court, including falsified
email threads used to obtain an ex parte Temporary Restraining Order (TRO). This
breach of their duty of candor constitutes fraud upon the court and necessitates their

disqualification to preserve the fairness of the proceedings.

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228 In addition to these ethical violations, fraud upon the court in securing the TRO further
underscores the need for disqualification. When a party has engaged in fraudulent conduct that
misleads the court and compromises the legal process, continued representation is not only
inappropriate but harmful to the integrity of the judiciary. Disqualifying Miles & Stockbridge
ensures that the legal proceedings can continue without further ethical violations or

manipulation.

V CONCLUSION
229 WHEREAS, the Plaintiff, Ohana Growth Partners, and their counsel, Miles &

Stockbridge, have engaged in repeated acts of bad faith, procedural abuse, and misrepresentation

throughout this litigation, including but not limited to:

1. Falsely claiming that the Defendant, Ryan Dillon-Capps, refused to provide access
to the Global Administrator account, despite an agreement being reached and
intentionally prevented from being fulfilled by the Plaintiff and their representatives;

2. Filing and enforcing a fraudulently obtained Temporary Restraining Order
(TRO) without providing the requisite notice and by using an email address that the
Defendant was prohibited from accessing;

3. Manipulating procedural rules, misleading the Court regarding due process, and
obtaining contempt orders and enforcement actions based on fraudulent filings and
false narratives.

4. Failing to honor procedural safeguards provided by Md. R. Civ. P. Cir. Ct. 2-322

and similar rules, all in an effort to harass and burden the Defendant, delay the

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resolution of this case, and perpetuate a baseless lawsuit with no particularized harm

or risk caused by the Defendant.

230 WHEREAS, Plaintiffand Miles & Stockbridge have further acted in concert as co-
conspirators in perpetuating this false narrative, misleading the Court, and misusing judicial
resources in violation of the Defendant’s rights and due process protections;

231 WHEREAS, Plaintiff and their counsel’s actions have had a direct and negative impact
on the Defendant’s ability to pursue litigation and have imposed undue emotional, financial, and
psychological harm, particularly given the Defendant’s protected status under the Americans
with Disabilities Act (ADA) and ongoing medical needs;

232 WHEREAS, the Court has both the authority and duty to prevent abuse of process,
sanction misconduct, and ensure fairness and integrity in the judicial process, including
dismissing frivolous claims, awarding monetary damages, and referring unethical conduct for
further investigation;

233 THEREFORE, the Defendant, Ryan Dillon-Capps, respectfully requests that this Court
issue the following sanctions against the Plaintiff, Ohana Growth Partners, and their counsel,
Miles & Stockbridge:

Monetary Sanctions:

234 Both Plaintiff and Miles & Stockbridge should be ordered to compensate the Defendant
for all legal fees and costs incurred due to their bad faith litigation, beginning from June 14,
2024, until the cessation of their perpetuation of the false narrative. Additionally, an award
should be made reflecting the damages caused by the fraudulent TRO enforcement and misuse

of judicial resources, as detailed in the affidavit.

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Dismissal of Claims with Prejudice

235 The Court should dismiss all of the Plaintiff’s claims with prejudice, as they are based
on knowingly false assertions, lack of particularized harm, and continued bad faith in the
litigation process. Such dismissal is warranted as the Plaintiff's actions demonstrate a clear intent
to misuse the judicial process for improper purposes.

Referral for Ethical Review

236 The Court should refer Miles & Stockbridge, including Holly Butler, Steven D. Frenkil,
Robert Brennen, Victoria Hoffberger, and Jessica L. Duvall, for ethical review by the appropriate
state bar association. Their participation in presenting fraudulent evidence, misrepresenting facts,
and misleading the Court constitutes violations of the Maryland Rules of Professional Conduct,
and such conduct must be investigated and appropriately sanctioned.

Referral for Criminal Review:

237 Given the serious nature of the false representations made to the Court, the fraudulent
creation of email threads, and the intentional submission of falsified evidence, the Court should
refer Miles & Stockbridge and Ohana Growth Partners for criminal review. Their actions may
constitute fraud upon the court and other potential criminal violations, including obstruction of
justice and perjury, for which appropriate legal remedies should be pursued.

Disqualification of Counsel:

238 Miles & Stockbridge should be disqualified from representing Ohana Growth
Partners in this case and any future litigation due to their conflict of interest and their
participation in fraudulent and unethical conduct. Their continued involvement undermines

the fairness and integrity of these proceedings.

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Vacate Default Order:

239 It is illogical to believe that preliminary motions are limited solely to addressing the lead
document, particularly when the case is attached to an injunction, with a show cause order
serving as enforcement of that injunction. Md. R. Civ. P. Cir. Ct. 2-322 exists for the purpose of
addressing legal issues in the preliminary phase of the proceedings. Arguing that Rule 2-322
applies only to documents that do not form the basis of the proceedings is an invalid
interpretation. Moreover, the order to vacate offers no viable relief, as Ohana Growth Partners’
claim lacks particularized harm and fails to explain how Ryan Dillon-Capps would be the cause
of any such harm.

240 Additionally, the Plaintiff has pursued this case with unclean hands, employing estoppel
in an attempt to fabricate a legal basis for their claims. Their effort to set up Dillon-Capps was
futile, as Justin Drummond accepted an agreement and made an accord on June 7, 2024. Their
actions on June 13, 2024 demonstrate that they conspired to frame the Defendant and
subsequently misled the Court. The entire case is based on fraudulent claims, lacks merit, and

should not be allowed to continue.

Conclusion Summary

241 The Court is asked to exercise its power to sanction to protect and penalize for relief
and deterrence. Plaintiff and their counsel, Miles & Stockbridge, for their fraudulent actions,
misuse of judicial resources, and continued bad faith in the pursuit of a meritless lawsuit.
Given the ongoing harm to the Defendant, as well as the significant ethical and procedural
violations, the requested sanctions will ensure fairness and protect the integrity of the judicial

process moving forward.

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RESPECTFULLY SUBMITTED,

September 27, 2024 /s/ Ryan Dillon-Capps
Ryan Dillon-Capps (Pro Se)
Email: ryan@mxt3.com
1334 Maple Avenue
Essex, Maryland 21221
Telephone: (703) 303-1113

Certificate Of Service
I HEREBY CERTIFY that on September 27, 2024, a copy of the Motion for Sanctions was sent

via email to rbrennen@milesstockbridge.com and served on via first-class mail, postage prepaid on:

Robert S. Brennen

Miles & Stockbridge P.C.
100 Light Street

Baltimore, Maryland 21202

/s/Ryan Dillon-Capps

Ryan Dillon-Capps (Pro Se)

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